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     EXHIBIT 1
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Allianz Global Corporate & Specialty®




Insurance
policy




Commercial Lines Policy
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Allianz Global Risks US Insurance Company
225 West Washington Street, Suite 1800, Chicago, IL 60606-3484

THIS POLICY CONSISTS OF:
  DECLARATIONS
  ONE OR MORE COVERAGE PARTS.

A COVERAGE PART CONSISTS OF:
  ONE OR MORE COVERAGE FORMS
  APPLICABLE FORMS AND ENDORSEMENTS




In Witness Whereof, we have caused this policy to be executed and attested, and if required by state law, this policy
shall not be valid unless countersigned by our authorized representative.




                           Secretary                               President and Chief Executive Officer




AGR-DS 1003 (09-11)                                                                                         Page 1 of 1
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                                             Allianz Global Risks US Insurance Company
POLICY NUMBER: CGL 2004738                                                    COMMERCIAL GENERAL LIABILITY
                                                                                         AGR-GL 1001 (11/03)


      COMMERCIAL GENERAL LIABILITY DECLARATIONS
Allianz Global Risks US Insurance Company                Aon Risk Services Inc of Ohio 0027799
225 W. Washington St., Suite 1800                        250 East Fifth Street Suite 2300
Chicago, IL 60606                                        Cincinnati, OH 45202-5117
67 Chicago Office


 NAMED INSURED:    Luxottica U.S. Holdings Corp.
 MAILING ADDRESS:  4000 Luxottica Place
                   Mason, OH 45040
 POLICY PERIOD: FROM     December 31, 2013 TO                 December 31, 2014          AT 12:01 A.M. TIME AT
 YOUR MAILING ADDRESS SHOWN ABOVE

IN RETURN FOR THE PAYMENT OF PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
                                 LIMITS OF INSURANCE
 EACH OCCURRENCE LIMIT               $             3,000,000
       DAMAGE TO PREMISES
       RENTED TO YOU LIMIT           $             1,000,000                         Any one premises
       MEDICAL EXPENSE LIMIT         $                10,000                         Any one person
 PERSONAL & ADVERTISING INJURY LIMIT $             3,000,000                         Any one person or organization
 GENERAL AGGREGATE LIMIT                                                            $                 3,000,000
 PRODUCTS/COMPLETED OPERATIONS AGGREGATE LIMIT                                      $                 3,000,000




                           RETROACTIVE DATE (CG 00 02 ONLY)
THIS INSURANCE DOES NOT APPLY TO "BODILY INJURY", "PROPERTY DAMAGE" OR "PERSONAL AND
ADVERTISING INJURY" WHICH OCCURS BEFORE THE RETROACTIVE DATE, IF ANY, SHOWN BELOW.
RETROACTIVE DATE:    NONE
                     (ENTER DATE OR "NONE" IF NO RETROACTIVE DATE APPLIES)

                                       DESCRIPTION OF BUSINESS
 FORM OF BUSINESS:

    INDIVIDUAL                             PARTNERSHIP                                    JOINT VENTURE

    LIMITED LIABILITY COMPANY            ORGANIZATION, INCLUDING A CORPORATION (BUT NOT
                                       INCLUDING A PARTNERSHIP, JOINT VENTURE OR LIMITED
                                       LIABILITY COMPANY)


 BUSINESS DESCRIPTION: Optical Goods Stores


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AGR-GL 1001 (11/03)                                 INSURED                                             Page 1 of 2
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                                               Allianz Global Risks US Insurance Company
                                ALL PREMISES YOU OWN, RENT OR OCCUPY
 LOCATION NUMBER                        ADDRESS OF ALL PREMISES YOU OWN, RENT OR OCCUPY
                                            Per Schedule on file with the Company




                                     CLASSIFICATION AND PREMIUM
LOCATION      CLASSIFICATION         CODE    PREMIUM           RATE                            ADVANCE PREMIUM
 NUMBER                               NO.      BASE      Prem/  Prod/Comp                      Prem/  Prod/Comp
                                                          Ops       Ops                         Ops      Ops

Per           All Operations of the 52050
Schedule on Named Insured
file with the Certified Terrorism
Company


                                               STATE TAX OR OTHER (if applicable)             $
                                               TOTAL PREMIUM (SUBJECT TO
                                               AUDIT)                                         $
                                               AT INCEPTION                                   $
 PREMIUM SHOWN IS PAYABLE:
                                               AT EACH ANNIVERSARY
                                                                                $
                                               (IF POLICY PERIOD IS MORE THAN ONE YEAR AND PREMIUM
                                               IS PAID IN ANNUAL INSTALLMENTS)
 AUDIT PERIOD (IF APPLICABLE)            ANNUALLY          SEMI-               QUARTERLY                MONTHLY
                                                           ANNUALLY

                                  ENDORSEMENTS
 ENDORSEMENTS ATTACHED TO THIS POLICY:
     Per Forms and Endorsement List




THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE FORM(S)
AND ANY ENDORSEMENT(S), COMPLETE THE ABOVE NUMBER POLICY.

 Countersigned:                                            By:
                       (Date)                                             (Authorized Representative)




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AGR-GL 1001 (11/03)                                  INSURED                                             Page 2 of 2
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                                                                             Allianz Global Risks US Insurance Company
                                                   FORMS AND ENDORSEMENT LIST

NAMED INSURED:         Luxottica U.S. Holdings Corp.
POLICY NUMBER:         CGL 2004738
EFFECTIVE DATE:        12/31/2013

The following policy forms and endorsements have been attached to and made a part of the policy at inception.


FORM NAME                                                                                          FORM NUMBER       EDITION DATE
Policyholder Notice - OFAC                                                                    AGR-IL 8003 (01-05)      01/2005
Policyholder Notice - 2012 CGL Revision                                                       CG P 015 04 13           04/2013
Commercial General Liability Coverage Form                                                    CG 00 01 04 13           04/2013
Common Policy Conditions                                                                      IL 00 17 11 98           11/1998
Exclusion - Asbestos Liability                                                                AGR-GL 5002 (11-03)      11/2003
Exclusion - Aircraft Products and Grounding Liability                                         AGR-GL 5005 (11-03)      11/2003
Exclusion - Tobacco and Tobacco Products                                                      AGR-GL 5010 (11-04)      11/2004
Employment-Related Practices Exclusion (For Use with the Commercial General Liability         CG 21 47 12 07           12/2007
Coverage Forms)
Fungi Or Bacteria Exclusion                                                                   CG 21 67 12 04           12/2004
Exclusion of Other Acts of Terrorism Committed Outside the United States; Cap on Losses       CG 21 71 06 08           06/2008
from Certified Acts of Terrorism
Silica or Silica-Related Dust Exclusion                                                       CG 21 96 03 05           03/2005
Exclusion - Insurance And Related Operations                                                  CG 22 48 07 98           07/1998
Nuclear Energy Liability Exclusion Endt.                                                      IL 00 21 09 08           09/2008
Amendment - Supplementary Payments Within Limits of Insurance                                 AGR-GL 3004 (11-03)      11/2003
Knowledge & Notice of Occurrence, Offense, Claim or Suit                                      AGR-GL 4502 (11-03)      11/2003
Additional Condition - Undisclosed Exposures                                                  AGR-GL 4503 (11-04)      11/2004
Amendment - Co-Employee Coverage                                                              AGR-GL 4504 (11-03)      11/2003
Amendment - Non-Owned Watercraft Exclusion                                                    AGR-GL 5004 (11-03)      11/2003
Economic or Trade Sanctions Endorsement                                                       AGRL-CG 5001 (07-08)     07/2008
Additional Insured - When Required by Contract - Ongoing Ops                                  AGRL-CG 6001 (04-10)     04/2010
Advice of Cancellation to Entities Other Than An Insured - EMAIL                              AGRL-IL 8002 (11-12)     11/2012
Provide Notice of Cancellation to Another Entity                                              AGRL-IL 8006 (12-12)     12/2012
Earlier Notice Of Cancellation Provided By Us                                                 CG 02 24 10 93           10/1993
Additional Insured - Controlling Interest                                                     CG 20 05 04 13           04/2013
Additional Insured - State or Governmental Agency or Subdivision or Political Subdivision -   CG 20 13 04 13           04/2013
Permits or Authorizations Relating to Premises
Additional Insured - Vendors                                                                  CG 20 15 04 13           04/2013
Waiver of Transfer of Rights of Recovery Against Others to Us                                 CG 24 04 05 09           05/2009

AGR-DS 1002 (11-03)
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                                                                              Allianz Global Risks US Insurance Company
                                                   FORMS AND ENDORSEMENT LIST

NAMED INSURED:        Luxottica U.S. Holdings Corp.
POLICY NUMBER:        CGL 2004738
EFFECTIVE DATE:       12/31/2013

The following policy forms and endorsements have been attached to and made a part of the policy at inception.


FORM NAME                                                                                             FORM NUMBER      EDITION DATE
Amendment of Coverage Territory - Worldwide Coverage                                             CG 24 22 04 13          04/2013
Alienated Premises                                                                               AGR-IL M001 (11-03)     11/2003
Amended Amendment - Self Insured Retention Claims Reporting Endorsement                          AGR-IL M001 (11-03)     11/2003
Amended Expected or Intended Injury exclusion                                                    AGR-IL M001 (11-03)     11/2003
Broad Form Named Insured                                                                         AGR-IL M001 (11-03)     11/2003
Designated Operations Excluson                                                                   AGR-IL M001 (11-03)     11/2003
Named Insured Endorsement                                                                        AGR-IL M001 (11-03)     11/2003
Optical Professional Liability Endorsement                                                       AGR-IL M001 (11-03)     11/2003
Optical Professional Liability Endt-Who is an insured, section 2. (1) (d)-1 amended to arising   AGR-IL M001 (11-03)     11/2003
out of his or her providing or failing to provide professional healthcare services ot
Self Insured Retention Agreement (Each Occurrence - No Aggregate)                                AGR-IL M001 (11-03)     11/2003
Employee Benefits Liability Coverage                                                             AGR-IL M002 (11-03)     11/2003
Ohio Changes - Cancellation and Nonrenewal                                                       IL 02 44 09 07          09/2007




AGR-DS 1002 (11-03)
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                             POLICYHOLDER NOTICE - OFAC
                     U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                                 ASSETS CONTROL ("OFAC")
                            ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.

The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
       o   Foreign agents;
       o   Front organizations;
       o   Terrorists;
       o   Terrorist organizations; and
       o   Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
Treasury's web site – http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




AGR-IL 8003 (01-05)                                                                                  Page 1 of 1
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POLICY NUMBER: CGL 2004738                                                 COMMERCIAL GENERAL LIABILITY
                                                                                          CG P 015 04 13

          2012 GENERAL LIABILITY MULTISTATE FORMS
                          REVISION
             ADVISORY NOTICE TO POLICYHOLDERS
This is a summary of the major changes in your policy. No coverage is provided by this summary nor can it be
construed to replace any provision of your policy. You should read your policy and review your Declarations page
for complete information on the coverages you are provided. If there is any conflict between the policy and this
summary, THE PROVISIONS OF THE POLICY SHALL PREVAIL.
The major areas within the policy that broaden or reduce coverage, and other changes, are highlighted below.
This notice does not reference every editorial change made in your policy. We have followed the policy sequence
of provisions in setting out this material.


                    COMMERCIAL GENERAL LIABILITY COVERAGE FORMS
                           CG 00 01 04 13 AND CG 00 02 04 13

I. EXCLUSIONS
   A. BROADENING OF COVERAGE
      1. Coverage A – Exclusion 2.c. (Liquor Liability) is revised to provide an exception with respect to allowing
         a person to bring alcoholic beverages onto the named insured's premises for consumption on the
         named insured's premises.
      2. Coverage A – Exclusion 2.p. (Electronic Data) is revised to introduce an exception for liability for
         damages because of bodily injury.
   B. OTHER CHANGES
      1. Coverage A – Exclusion 2.c. (Liquor Liability) is revised to reinforce that the exclusion applies even if
         claims against an insured allege negligence or other wrongdoing in the supervision, hiring, employment,
         training or monitoring of others, or providing or failing to provide transportation with respect to any
         person that may be under the influence of alcohol.
      2. Coverage A – Exclusion 2.g. (Aircraft, Auto Or Watercraft) is revised to delete reference to "in the
         state".
      3. Coverage A – Exclusion 2.q. and Coverage B – Exclusion 2.p. (Recording And Distribution Of Material
         Or Information In Violation Of Law) were previously added to your policy via mandatory endorsement.
         The endorsement contained an exclusion addressing injury or damage arising out of any action or
         omission that violates or is alleged to violate certain statutes, ordinances and regulations. This
         exclusion has been incorporated directly into your policy.
      4. Coverage B – Exclusions 2.b. and 2.c. (Material Published With Knowledge Of Falsity and Material
         Published Prior To Policy Period) are revised to reference "in any manner", with respect to oral or
         written publication, for consistency with the definition of personal and advertising injury.
II. CONDITIONS
      OTHER CHANGES
      Condition 4. (Other Insurance) is generally revised so that the insurance provided is excess over any for
      which the named insured has been added as an additional insured, whether by endorsement or any other
      means.




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III. DEFINITIONS
       OTHER CHANGES
       1. Definition 2. (Auto) is revised to delete reference to "in the state" with respect to where a vehicle is
          licensed or principally garaged.
       2. Definition 12. (Mobile Equipment) is revised to delete reference to "in the state" with respect to where a
          vehicle is licensed or principally garaged.


       OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM –
           COVERAGE FOR OPERATIONS OF DESIGNATED CONTRACTOR
                             CG 00 09 04 13

I. EXCLUSIONS
     BROADENING OF COVERAGE
     Exclusion 2.l. (Electronic Data) is revised to introduce an exception for liability for damages because of
     bodily injury.
II. DEFINITIONS
      OTHER CHANGES
      1. Definition 1. (Auto) is revised to delete reference to "in the state" with respect to where a vehicle is
         licensed or principally garaged.
      2. Definition 10. (Mobile Equipment) is revised to delete reference to "in the state" with respect to where a
         vehicle is licensed or principally garaged.


                               LIQUOR LIABILITY COVERAGE FORMS
                                 CG 00 33 04 13 AND CG 00 33 04 13

   WHO IS AN INSURED
     BROADENING OF COVERAGE
     We have included trusts as Named Insureds. In addition, trustees have been included as insureds but only
     with respect to their duties as trustees.


          CG 00 35 04 13 – RAILROAD PROTECTIVE LIABILITY COVERAGE FORM

   EXCLUSIONS
     BROADENING OF COVERAGE
     Exclusion 2.f.(3)(a) (Pollution) is amended to expand the exception to the exclusion with respect to bodily
     injury or property damage arising out of fuel or lubricants for equipment used at the job location not just
     when they escape from such equipment.




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            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
                        CG 00 37 04 13 AND CG 00 38 04 13

 I. EXCLUSIONS
      BROADENING OF COVERAGE
      1. Exclusion 2.c. (Liquor Liability) is revised to provide an exception with respect to allowing a person to
         bring alcoholic beverages onto the named insured's premises for consumption on the named insured's
         premises.
      2. Exclusion 2.l. (Electronic Data) is revised to introduce an exception for liability for damages because of
         bodily injury.
II. DEFINITIONS
      OTHER CHANGES
      1. Exclusion 2.c. (Liquor Liability) is revised to reinforce that the exclusion applies even if claims against
         an insured allege negligence or other wrongdoing in the supervision, hiring, employment, training or
         monitoring of others, or providing or failing to provide transportation with respect to any person that may
         be under the influence of alcohol.
      2. Definition 1. (Auto) is revised to delete reference to "in the state" with respect to where a vehicle is
         licensed or principally garaged.
       3. Definition 10. (Mobile Equipment) is revised to delete reference to "in the state" with respect to where a
          vehicle is licensed or principally garaged.


     CG 00 39 04 13 – POLLUTION LIABILITY COVERAGE FORM DESIGNATED SITES
          CG 00 40 04 13 – POLLUTION LIABILITY LIMITED COVERAGE FORM
                                DESIGNATED SITES

I. EXCLUSIONS
   A. BROADENING OF COVERAGE
      Exclusion 2.p. (Electronic Data) is revised to introduce an exception for liability for damages because of
      bodily injury.
   B. OTHER CHANGES
      Exclusion (Aircraft, Auto, Rolling Stock Or Watercraft) is generally revised to reinforce that the exclusion
      applies even if the claims against any insured allege negligence or other wrongdoing in the supervision,
      hiring, employment, training or monitoring of others by that insured.
      The exclusion is also revised to express that a land motor vehicle subject to compulsory or financial
      responsibility laws or other motor vehicle insurance laws will not be covered with respect to its over-the-
      road exposures.
II. DEFINITIONS
      OTHER CHANGES
      1. Exclusion 2.j. (Aircraft, Auto, Rolling Stock Or Watercraft) is revised to delete reference to "in the state".
         (CG 00 40 only)
      2. Definition 1. (Auto) is revised to delete reference to "in the state" with respect to where a vehicle is
         licensed or principally garaged.
      3. Definition (Mobile Equipment) is revised to delete reference to "in the state" with respect to where a
         vehicle is licensed or principally garaged.




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   CG 00 42 04 13 – UNDERGROUND STORAGE TANK POLICY DESIGNATED TANKS

   EXCLUSIONS
     BROADENING OF COVERAGE
     Exclusion 2.i. (Electronic Data) is revised to introduce an exception for liability for damages because of
     bodily injury.


              CG 00 65 04 13 – ELECTRONIC DATA LIABILITY COVERAGE FORM

   EXCLUSIONS
     OTHER CHANGES
     Exclusion 2.g. (Infringement Of Intellectual Property Rights) is revised to delete the exception pertaining to
     the use of another's advertising idea.


                                    MULTISTATE ENDORSEMENTS

  A. BROADENING OF COVERAGE
     1. Electronic Data Liability Endorsement CG 04 37 is revised to introduce an exception to the electronic
        data exclusion in order to provide that the exclusion does not apply to liability for damages because of
        bodily injury.
      2. Additional Insured – Owners, Lessees Or Contractors – Automatic Status For Other Parties When
         Required In Written Construction Agreement Endorsement CG 20 38 is introduced to provide additional
         insured status to those parties whom the named insured is obligated in writing in a contract or
         agreement to name as an additional insured.
      3. Druggists Endorsement CG 22 69 is revised to introduce an exception for the administering of
         vaccinations.
      4. Liquor Liability – Bring Your Own Alcohol Establishments Endorsement CG 24 06 is introduced to
         provide coverage to insureds who permit any person to bring any alcoholic beverage on an insured's
         premises, for consumption on the insured's premises.
  B. REDUCTIONS OF COVERAGE
     1. Additional Insured – Users Of Golfmobiles Endorsement CG 20 08 is revised to include a definition of
        the term golfmobile.
     2. Liquor Liability Exclusion Endorsements
        The following endorsements are revised to indicate that the liquor liability exclusion will apply if a
        named insured permits any person to bring any alcoholic beverages on the named insured's premises,
        for consumption on the named insured's premises:
               CG 21 50 – Amendment Of Liquor Liability Exclusion (for use with Commercial General Liability
                Coverage Part)
               CG 21 51 – Amendment Of Liquor Liability Exclusion – Exception For Scheduled Premises Or
                Activities (for use with Commercial General Liability Coverage Part)
               CG 29 52 – Amendment Of Liquor Liability Exclusion (for use with Products/Completed
                Operations Liability Coverage Part)
               CG 29 53 – Amendment Of Liquor Liability Exclusion – Exception For Scheduled Premises Or
                Activities (for use with Products/Completed Operations Liability Coverage Part)




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     3. Total Pollution Exclusion For Designated Products Or Work Endorsement CG 21 99 is introduced to
        exclude coverage with respect to bodily injury or property damage arising out of the actual, alleged or
        threatened discharge, dispersal, seepage, migration, release or escape of pollutants which arises out of
        the product or work scheduled in the endorsement.
     4. Amendment Of Personal And Advertising Injury Definition Endorsement CG 24 13 is introduced to
        remove from the definition of personal and advertising injury the offense of oral and written publication,
        in any manner, of material that violates a person's right of privacy.
  C. OTHER CHANGES
     1. Limited Product Withdrawal Expense Endorsement CG 04 36 is revised, in part, to reinforce that the
        Participation Percentage is indicated in the Schedule and to reflect that the cost of the insured's
        participation in each product withdrawal will be borne by the named insured when due.
     2. Primary And Noncontributory – Other Insurance Condition Endorsement CG 20 01 is introduced to
        revise the Other Insurance Condition to indicated that coverage is provided to an additional insured on
        a primary and noncontributory basis, provided that certain requirements are met.
     3. Additional Insured Endorsements
        The following additional insured endorsements are revised to indicate that when these endorsements
        are attached to a policy, if coverage provided to the additional insured is required by contract or
        agreement, coverage to the additional insured will be afforded to the extent permissible by law and to
        the extent the named insured is required by the contract or agreement to provide insurance for the
        additional insured.
        Additionally, if coverage provided to the additional insured is required by contract or agreement, the
        limits of insurance of the named insured's policy that are available to an additional insured will be
        limited to the extent required by the contract or agreement or the amount of insurance available under
        the applicable Limits of Insurance shown in the Declarations, whichever is less:
              CG 20 03 – Additional Insured – Concessionaires Trading Under Your Name
              CG 20 05 – Additional Insured – Controlling Interest
              CG 20 07 – Additional Insured – Engineers, Architects Or Surveyors
              CG 20 10 – Additional Insured – Owners, Lessees Or Contractors – Scheduled Person Or
               Organization
              CG 20 11 – Additional Insured – Managers Or Lessors Of Premises
              CG 20 12 – Additional Insured – State Or Governmental Agency Or Subdivision Or Political
               Subdivision – Permits Or Authorizations
                CG 20 13 – Additional Insured – State Or Governmental Agency Or Subdivision Or Political
                 Subdivision – Permits Or Authorizations Relating To Premises
                CG 20 15 – Additional Insured – Vendors
                CG 20 18 – Additional Insured – Mortgagee, Assignee Or Receiver
                CG 20 23 – Additional Insured – Executors, Administrators, Trustees Or Beneficiaries
                CG 20 24 – Additional Insured – Owners Or Other Interest From Whom Land Has Been Leased
                CG 20 26 – Additional Insured – Designated Person Or Organization
                CG 20 27 – Additional Insured – Co-owner Of Insured Premises
                CG 20 28 – Additional Insured – Lessor Of Leased Equipment
                CG 20 29 – Additional Insured – Grantor Of Franchise
                CG 20 30 – Oil Or Gas Operations – Nonoperating, Working Interests
                CG 20 31 – Additional Insured – Engineers, Architects Or Surveyors
                CG 20 32 – Additional Insured – Engineers, Architects Or Surveyors Not Engaged By The Named
                 Insured
                CG 20 33 – Additional Insured – Owners, Lessees Or Contractors – Automatic Status When
                 Required In Construction Agreement With You




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             CG 20 34 – Additional Insured – Lessor Of Leased Equipment – Automatic Status When
              Required In Lease Agreement With You
             CG 20 35 – Additional Insured – Grantor Of Licenses – Automatic Status When Required By
              Licensor
             CG 20 36 – Additional Insured – Grantor Of Licenses
             CG 20 37 – Additional Insured – Owners, Lessees Or Contractors – Completed Operations
             CG 29 35 – Additional Insured – State Or Governmental Agency Or Subdivision Or Political
              Subdivision – Permits Or Authorizations
      4. Professional Services Endorsements
         The following endorsements are revised to expressly address, in part, claims alleging negligence or
         other wrongdoing in the hiring, employment, training, supervision or monitoring of others by any
         insured:
              CG 21 16 – Exclusion – Designated Professional Services
              CG 21 52 – Exclusion – Financial Services
              CG 21 56 – Exclusion – Funeral Services
              CG 21 57 – Exclusion – Counseling Services
              CG 21 58 – Exclusion – Professional Veterinarian Services
              CG 21 59 – Exclusion – Diagnostic Testing Laboratories
              CG 22 24 – Exclusion – Inspection, Appraisal And Survey Companies
              CG 22 32 – Exclusion – Professional Services – Blood Banks
              CG 22 33 – Exclusion – Testing Or Consulting Errors And Omissions
              CG 22 34 – Exclusion – Construction Management Errors And Omissions
              CG 22 36 – Exclusion – Products And Professional Services (Druggists)
              CG 22 37 – Exclusion – Products And Professional Services (Optical And Hearing Aid
               Establishments)
             CG 22 39 – Exclusion – Camps Or Campgrounds
             CG 22 43 – Exclusion – Engineers, Architects Or Surveyors Professional Liability
             CG 22 44 – Exclusion – Services Furnished By Health Care Providers
             CG 22 45 – Exclusion – Specified Therapeutic Or Cosmetic Services
             CG 22 48 – Exclusion – Insurance And Related Operations
             CG 22 69 – Druggists
             CG 22 71 – Colleges Or Schools (Limited Form)
             CG 22 72 – Colleges Or Schools
             CG 22 75 – Professional Liability Exclusion – Computer Software
             CG 22 76 – Professional Liability Exclusion – Health Or Exercise Clubs Or Commercially
              Operated Health Or Exercise Facilities
             CG 22 77 – Professional Liability Exclusion – Computer Data Processing
             CG 22 79 – Exclusion – Contractors – Professional Liability
             CG 22 80 – Limited Exclusion – Contractors – Professional Liability
             CG 22 87 – Exclusion – Adult Day Care Centers
             CG 22 88 – Professional Liability Exclusion – Electronic Data Processing Services And Computer
              Consulting Or Programming Services
             CG 22 90 – Professional Liability Exclusion – Spas or Personal Enhancement Facilities
             CG 22 91 – Exclusion – Telecommunication Equipment Or Service Providers Errors And
              Omissions
             CG 22 96 – Limited Exclusion – Personal And Advertising Injury – Lawyers



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             CG 22 98 – Exclusion – Internet Service Providers And Internet Access Providers Errors And
              Omissions
             CG 22 99 – Professional Liability Exclusion – Web Site Designers
             CG 23 01 – Exclusion – Real Estate Agents Or Brokers Errors Or Omissions
             CG 31 15 – Construction Project Management Protective Liability Coverage
     5. Exclusion – Volunteer Workers Endorsement CG 21 66 is revised to delete reference to "in the state"
        from Exclusion 2.g. (Aircraft, Auto Or Watercraft).
     6. Exclusion – Failure To Supply Endorsement CG 22 50 is revised to expressly state that the exclusion
        also applies to the failure of any insured to adequately supply biofuel.
     7. Pesticide Or Herbicide Applicator Coverage Endorsements CG 22 64 and CG 28 12 and Lawn Care
        Services Coverage Endorsement CG 22 93 are revised to reflect a change in titles to Herbicide
        Applicator – Limited Pollution Coverage endorsements and Lawn Care Services – Limited Pollution
        Coverage.
     8. Real Estate Property Managed Endorsement CG 22 70 is revised to reinforce that the insurance
        provided is excess over any other insurance available, whether such insurance is primary or excess.
     9. Colleges Or Schools Endorsements CG 22 71 and CG 22 72 are revised to expressly address, in part,
        claims alleging negligence or other wrongdoing in the hiring, employment, training, supervision or
        monitoring of others by any insured.
    10. Waiver Of Governmental Immunity Endorsement CG 24 14 is revised to reference that the
        endorsement also applies to the Owners And Contractors Protective Liability Coverage Part and the
        Railroad Protective Liability Coverage Part.
    11. Amendment Of Insured Contract Definition Endorsement CG 24 26 and Limited Contractual Liability –
        Railroads Endorsement CG 24 27 are revised to reflect that the defined term insured contract
        addresses certain liability assumed by the named insured with respect to the tort liability of another
        party to the extent the assumption of the tort liability is permitted by law.
    12. Designated Locations(s) Aggregate Limit Endorsement CG 25 14 is introduced to make a separate
        Designated Location Aggregate Limit available for each location of the insured listed in the Schedule of
        the endorsement.
    13. Supplemental Extended Reporting Period Endorsement CG 27 10 and Supplemental Extended
        Reporting Period Endorsement For Specific Accidents, Products, Work Or Locations Endorsement
        CG 27 11 are revised to amend Condition 4. (Other Insurance) so that the insurance provided is excess
        over any for which the named insured has been added as an additional insured, whether by
        endorsement or any other means.
    14. Principals Protective Liability Coverage Endorsement CG 28 07 is revised to delete reference to "in the
        state" from Exclusion 2.c.(1)(e)(i).
    15. Liquor Liability Exclusion Endorsements
        The following endorsements are revised to reinforce that the exclusion applies even if claims against an
        insured allege negligence or other wrongdoing in the supervision, hiring, employment, training or
        monitoring of others, or providing or failing to provide transportation with respect to any person that may
        be under the influence of alcohol:
                CG 21 50 – Amendment Of Liquor Liability Exclusion (for use with Commercial General Liability
                 Coverage Part)
                CG 21 51 – Amendment Of Liquor Liability Exclusion – Exception For Scheduled Premises Or
                 Activities (for use with Commercial General Liability Coverage Part)
                CG 29 52 – Amendment Of Liquor Liability Exclusion (for use with Products/Completed
                 Operations Liability Coverage Part)
                CG 29 53 – Amendment Of Liquor Liability Exclusion – Exception For Scheduled Premises Or
                 Activities (for use with Products/Completed Operations Liability Coverage Part)




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POLICY NUMBER: CGL 2004738                                                 COMMERCIAL GENERAL LIABILITY
                                                                                          CG 00 01 04 13

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.             (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,                occurs during the policy period; and
duties and what is and is not covered.                           (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your"                    under Paragraph 1. of Section II – Who Is
refer to the Named Insured shown in the Declarations,                An Insured and no "employee" authorized
and any other person or organization qualifying as a                 by you to give or receive notice of an
Named Insured under this policy. The words "we",                     "occurrence" or claim, knew that the "bodily
"us" and "our" refer to the company providing this                   injury" or "property damage" had occurred,
insurance.                                                           in whole or in part. If such a listed insured
The word "insured" means any person or organization                  or authorized "employee" knew, prior to the
qualifying as such under Section II – Who Is An                      policy period, that the "bodily injury" or
Insured.                                                             "property damage" occurred, then any
                                                                     continuation, change or resumption of such
Other words and phrases that appear in quotation                     "bodily injury" or "property damage" during
marks have special meaning. Refer to Section V –                     or after the policy period will be deemed to
Definitions.                                                         have been known prior to the policy period.
SECTION I – COVERAGES                                         c. "Bodily injury" or "property damage" which
COVERAGE A – BODILY INJURY AND PROPERTY                          occurs during the policy period and was not,
DAMAGE LIABILITY                                                 prior to the policy period, known to have
                                                                 occurred by any insured listed under
1. Insuring Agreement
                                                                 Paragraph 1. of Section II – Who Is An Insured
   a. We will pay those sums that the insured                    or any "employee" authorized by you to give or
      becomes legally obligated to pay as damages                receive notice of an "occurrence" or claim,
      because of "bodily injury" or "property damage"            includes any continuation, change or
      to which this insurance applies. We will have              resumption of that "bodily injury" or "property
      the right and duty to defend the insured against           damage" after the end of the policy period.
      any "suit" seeking those damages. However,
      we will have no duty to defend the insured              d. "Bodily injury" or "property damage" will be
      against any "suit" seeking damages for "bodily             deemed to have been known to have occurred
      injury" or "property damage" to which this                 at the earliest time when any insured listed
                                                                 under Paragraph 1. of Section II – Who Is An
      insurance does not apply. We may, at our
      discretion, investigate any "occurrence" and               Insured or any "employee" authorized by you to
      settle any claim or "suit" that may result. But:           give or receive notice of an "occurrence" or
                                                                 claim:
      (1) The amount we will pay for damages is
          limited as described in Section III – Limits           (1) Reports all, or any part, of the "bodily injury"
          Of Insurance; and                                          or "property damage" to us or any other
                                                                     insurer;
      (2) Our right and duty to defend ends when we
          have used up the applicable limit of                   (2) Receives a written or verbal demand or
                                                                     claim for damages because of the "bodily
          insurance in the payment of judgments or
          settlements under Coverages A or B or                      injury" or "property damage"; or
          medical expenses under Coverage C.                     (3) Becomes aware by any other means that
                                                                     "bodily injury" or "property damage" has
      No other obligation or liability to pay sums or
                                                                     occurred or has begun to occur.
      perform acts or services is covered unless
      explicitly provided for under Supplementary             e. Damages because of "bodily injury" include
      Payments – Coverages A and B.                              damages claimed by any person or
                                                                 organization for care, loss of services or death
   b. This insurance applies to "bodily injury" and
                                                                 resulting at any time from the "bodily injury".
      "property damage" only if:
     (1) The "bodily injury" or "property damage" is
         caused by an "occurrence" that takes place
         in the "coverage territory";




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2. Exclusions                                                     This exclusion applies even if the claims
   This insurance does not apply to:                              against any insured allege negligence or other
                                                                  wrongdoing in:
   a. Expected Or Intended Injury
                                                                     (a) The supervision, hiring, employment,
      "Bodily injury" or "property damage" expected                       training or monitoring of others by that
      or intended from the standpoint of the insured.                     insured; or
      This exclusion does not apply to "bodily injury"
      resulting from the use of reasonable force to                  (b) Providing       or    failing  to    provide
      protect persons or property.                                        transportation with respect to any
                                                                          person that may be under the influence
   b. Contractual Liability                                               of alcohol;
      "Bodily injury" or "property damage" for which              if the "occurrence" which caused the "bodily
      the insured is obligated to pay damages by                  injury" or "property damage", involved that
      reason of the assumption of liability in a                  which is described in Paragraph (1), (2) or (3)
      contract or agreement. This exclusion does not              above.
      apply to liability for damages:
                                                                  However, this exclusion applies only if you are
     (1) That the insured would have in the absence               in the business of manufacturing, distributing,
          of the contract or agreement; or                        selling, serving or furnishing alcoholic
     (2) Assumed in a contract or agreement that is               beverages. For the purposes of this exclusion,
         an "insured contract", provided the "bodily              permitting a person to bring alcoholic
         injury" or "property damage" occurs                      beverages on your premises, for consumption
         subsequent to the execution of the contract              on your premises, whether or not a fee is
         or agreement. Solely for the purposes of                 charged or a license is required for such
         liability assumed in an "insured contract",              activity, is not by itself considered the business
         reasonable attorneys' fees and necessary                 of selling, serving or furnishing alcoholic
         litigation expenses incurred by or for a party           beverages.
         other than an insured are deemed to be                d. Workers' Compensation And Similar Laws
         damages because of "bodily injury" or
         "property damage", provided:                             Any obligation of the insured under a workers'
                                                                  compensation,          disability    benefits    or
        (a) Liability to such party for, or for the cost          unemployment compensation law or any
              of, that party's defense has also been              similar law.
              assumed in the same "insured contract";
              and                                              e. Employer's Liability
        (b) Such attorneys' fees and litigation                   "Bodily injury" to:
              expenses are for defense of that party             (1) An "employee" of the insured arising out of
              against a civil or alternative dispute                  and in the course of:
              resolution proceeding in which damages                 (a) Employment by the insured; or
              to which this insurance applies are
              alleged.                                               (b) Performing duties related to the conduct
                                                                         of the insured's business; or
   c. Liquor Liability
                                                                  (2) The spouse, child, parent, brother or sister
      "Bodily injury" or "property damage" for which                  of that "employee" as a consequence of
      any insured may be held liable by reason of:                    Paragraph (1) above.
     (1) Causing or contributing to the intoxication of           This exclusion applies whether the insured
         any person;                                              may be liable as an employer or in any other
     (2) The furnishing of alcoholic beverages to a               capacity and to any obligation to share
         person under the legal drinking age or                   damages with or repay someone else who
         under the influence of alcohol; or                       must pay damages because of the injury.
     (3) Any statute, ordinance or regulation relating            This exclusion does not apply to liability
         to the sale, gift, distribution or use of                assumed by the insured under an "insured
         alcoholic beverages.                                     contract".




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   f. Pollution                                                    (d) At or from any premises, site or location
     (1) "Bodily injury" or "property damage" arising                  on which any insured or any contractors
         out of the actual, alleged or threatened                      or subcontractors working directly or
         discharge, dispersal, seepage, migration,                     indirectly on any insured's behalf are
         release or escape of "pollutants":                            performing operations if the "pollutants"
                                                                       are brought on or to the premises, site
        (a) At or from any premises, site or location                  or location in connection with such
            which is or was at any time owned or                       operations by such insured, contractor
            occupied by, or rented or loaned to, any                   or    subcontractor.   However,      this
            insured. However, this subparagraph                        subparagraph does not apply to:
            does not apply to:
                                                                        (i) "Bodily injury" or "property damage"
            (i) "Bodily injury" if sustained within a                       arising out of the escape of fuels,
                building and caused by smoke,                               lubricants or other operating fluids
                fumes, vapor or soot produced by or                         which are needed to perform the
                originating from equipment that is                          normal electrical, hydraulic or
                used to heat, cool or dehumidify the                        mechanical functions necessary for
                building, or equipment that is used to                      the operation of "mobile equipment"
                heat water for personal use, by the                         or its parts, if such fuels, lubricants
                building's occupants or their guests;                       or other operating fluids escape from
           (ii) "Bodily injury" or "property damage"                        a vehicle part designed to hold, store
                for which you may be held liable, if                        or receive them. This exception does
                you are a contractor and the owner                          not apply if the "bodily injury" or
                or lessee of such premises, site or                         "property damage" arises out of the
                location has been added to your                             intentional discharge, dispersal or
                policy as an additional insured with                        release of the fuels, lubricants or
                respect to your ongoing operations                          other operating fluids, or if such
                performed for that additional insured                       fuels, lubricants or other operating
                at that premises, site or location and                      fluids are brought on or to the
                such premises, site or location is not                      premises, site or location with the
                and never was owned or occupied                             intent that they be discharged,
                by, or rented or loaned to, any                             dispersed or released as part of the
                insured, other than that additional                         operations being performed by such
                insured; or                                                 insured, contractor or subcontractor;
           (iii) "Bodily injury" or "property damage"                  (ii) "Bodily injury" or "property damage"
                 arising out of heat, smoke or fumes                        sustained within a building and
                 from a "hostile fire";                                     caused by the release of gases,
        (b) At or from any premises, site or location                       fumes or vapors from materials
             which is or was at any time used by or                         brought into that building in
                                                                            connection with operations being
             for any insured or others for the
             handling, storage, disposal, processing                        performed by you or on your behalf
             or treatment of waste;                                         by a contractor or subcontractor; or
                                                                      (iii) "Bodily injury" or "property damage"
        (c) Which are or were at any time
                                                                            arising out of heat, smoke or fumes
            transported, handled, stored, treated,
            disposed of, or processed as waste by                           from a "hostile fire".
            or for:                                                (e) At or from any premises, site or location
                                                                        on which any insured or any contractors
            (i) Any insured; or
                                                                        or subcontractors working directly or
           (ii) Any person or organization for whom                     indirectly on any insured's behalf are
                you may be legally responsible; or                      performing operations if the operations
                                                                        are to test for, monitor, clean up,
                                                                        remove, contain, treat, detoxify or
                                                                        neutralize, or in any way respond to, or
                                                                        assess the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
         any:                                                          out of:
        (a) Request, demand, order or statutory or                    (a) The operation of machinery or
            regulatory requirement that any insured                       equipment that is attached to, or part of,
            or others test for, monitor, clean up,                        a land vehicle that would qualify under
            remove, contain, treat, detoxify or                           the definition of "mobile equipment" if it
            neutralize, or in any way respond to, or                      were not subject to a compulsory or
            assess the effects of, "pollutants"; or                       financial responsibility law or other
        (b) Claim or suit by or on behalf of a                            motor vehicle insurance law where it is
            governmental authority for damages                            licensed or principally garaged; or
            because of testing for, monitoring,                       (b) The operation of any of the machinery
            cleaning up, removing, containing,                            or equipment listed in Paragraph f.(2) or
            treating, detoxifying or neutralizing, or in                  f.(3) of the definition of "mobile
            any way responding to, or assessing the                       equipment".
            effects of, "pollutants".                          h. Mobile Equipment
         However, this paragraph does not apply to                "Bodily injury" or "property damage" arising out
         liability for damages because of "property               of:
         damage" that the insured would have in the
         absence of such request, demand, order or                (1) The transportation of "mobile equipment" by
         statutory or regulatory requirement, or such                 an "auto" owned or operated by or rented or
         claim or "suit" by or on behalf of a                         loaned to any insured; or
         governmental authority.                                  (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                    in practice for, or while being prepared for,
                                                                      any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out                or stunting activity.
      of the ownership, maintenance, use or
      entrustment to others of any aircraft, "auto" or          i. War
      watercraft owned or operated by or rented or                 "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation                caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                                  (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                                  (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                      action in hindering or defending against an
      wrongdoing in the supervision, hiring,                          actual or expected attack, by any
      employment, training or monitoring of others by                 government, sovereign or other authority
      that insured, if the "occurrence" which caused
                                                                      using military personnel or other agents; or
      the "bodily injury" or "property damage"
      involved the ownership, maintenance, use or                 (3) Insurrection, rebellion, revolution, usurped
      entrustment to others of any aircraft, "auto" or                power, or action taken by governmental
      watercraft that is owned or operated by or                      authority in hindering or defending against
      rented or loaned to any insured.                                any of these.
      This exclusion does not apply to:                         j. Damage To Property
     (1) A watercraft while ashore on premises you                 "Property damage" to:
         own or rent;                                             (1) Property you own, rent, or occupy, including
     (2) A watercraft you do not own that is:                         any costs or expenses incurred by you, or
                                                                      any other person, organization or entity, for
        (a) Less than 26 feet long; and                               repair,     replacement,       enhancement,
        (b) Not being used to carry persons or                        restoration or maintenance of such property
             property for a charge;                                   for any reason, including prevention of
     (3) Parking an "auto" on, or on the ways next                    injury to a person or damage to another's
         to, premises you own or rent, provided the                   property;
         "auto" is not owned by or rented or loaned               (2) Premises you sell, give away or abandon, if
         to you or the insured;                                       the "property damage" arises out of any
     (4) Liability assumed under any "insured                         part of those premises;
         contract" for the ownership, maintenance or              (3) Property loaned to you;
         use of aircraft or watercraft; or




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     (4) Personal property in the care, custody or                 This exclusion does not apply to the loss of use
         control of the insured;                                   of other property arising out of sudden and
     (5) That particular part of real property on                  accidental physical injury to "your product" or
         which you or any contractors or                           "your work" after it has been put to its intended
         subcontractors working directly or indirectly             use.
         on your behalf are performing operations, if           n. Recall Of Products, Work Or Impaired
         the "property damage" arises out of those                 Property
         operations; or                                            Damages claimed for any loss, cost or
     (6) That particular part of any property that                 expense incurred by you or others for the loss
         must be restored, repaired or replaced                    of use, withdrawal, recall, inspection, repair,
         because "your work" was incorrectly                       replacement, adjustment, removal or disposal
         performed on it.                                          of:
      Paragraphs (1), (3) and (4) of this exclusion do            (1) "Your product";
      not apply to "property damage" (other than                  (2) "Your work"; or
      damage by fire) to premises, including the
      contents of such premises, rented to you for a              (3) "Impaired property";
      period of seven or fewer consecutive days. A                 if such product, work, or property is withdrawn
      separate limit of insurance applies to Damage                or recalled from the market or from use by any
      To Premises Rented To You as described in                    person or organization because of a known or
      Section III – Limits Of Insurance.                           suspected defect, deficiency, inadequacy or
      Paragraph (2) of this exclusion does not apply               dangerous condition in it.
      if the premises are "your work" and were never            o. Personal And Advertising Injury
      occupied, rented or held for rental by you.
                                                                   "Bodily injury" arising out of "personal and
      Paragraphs (3), (4), (5) and (6) of this                     advertising injury".
      exclusion do not apply to liability assumed               p. Electronic Data
      under a sidetrack agreement.
                                                                   Damages arising out of the loss of, loss of use
      Paragraph (6) of this exclusion does not apply               of, damage to, corruption of, inability to access,
      to "property damage" included in the "products-
                                                                   or inability to manipulate electronic data.
      completed operations hazard".
                                                                   However, this exclusion does not apply to
  k. Damage To Your Product                                        liability for damages because of "bodily injury".
      "Property damage" to "your product" arising out              As used in this exclusion, electronic data
      of it or any part of it.                                     means information, facts or programs stored as
   l. Damage To Your Work                                          or on, created or used on, or transmitted to or
      "Property damage" to "your work" arising out of              from computer software, including systems and
      it or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
      completed operations hazard".                                ROMs, tapes, drives, cells, data processing
                                                                   devices or any other media which are used
      This exclusion does not apply if the damaged                 with electronically controlled equipment.
      work or the work out of which the damage
      arises was performed on your behalf by a                  q. Recording And Distribution Of Material Or
      subcontractor.                                               Information In Violation Of Law
  m. Damage To Impaired Property Or Property                       "Bodily injury" or "property damage" arising
      Not Physically Injured                                       directly or indirectly out of any action or
                                                                   omission that violates or is alleged to violate:
      "Property damage" to "impaired property" or
      property that has not been physically injured,               (1) The Telephone Consumer Protection Act
      arising out of:                                                  (TCPA), including any amendment of or
                                                                       addition to such law;
     (1) A defect, deficiency, inadequacy or
           dangerous condition in "your product" or                (2) The CAN-SPAM Act of 2003, including any
           "your work"; or                                             amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting                (3) The Fair Credit Reporting Act (FCRA), and
         on your behalf to perform a contract or                       any amendment of or addition to such law,
         agreement in accordance with its terms.                       including the Fair and Accurate Credit
                                                                       Transactions Act (FACTA); or




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      (4) Any federal, state or local statute,                2. Exclusions
           ordinance or regulation, other than the               This insurance does not apply to:
           TCPA, CAN-SPAM Act of 2003 or FCRA
           and their amendments and additions, that              a. Knowing Violation Of Rights Of Another
           addresses, prohibits, or limits the printing,            "Personal and advertising injury" caused by or
           dissemination,       disposal,      collecting,          at the direction of the insured with the
           recording,        sending,       transmitting,           knowledge that the act would violate the rights
           communicating or distribution of material or             of another and would inflict "personal and
           information.                                             advertising injury".
   Exclusions c. through n. do not apply to damage               b. Material Published With Knowledge Of
   by fire to premises while rented to you or                       Falsity
   temporarily occupied by you with permission of the               "Personal and advertising injury" arising out of
   owner. A separate limit of insurance applies to this             oral or written publication, in any manner, of
   coverage as described in Section III – Limits Of
                                                                    material, if done by or at the direction of the
   Insurance.                                                       insured with knowledge of its falsity.
COVERAGE B – PERSONAL AND ADVERTISING                            c. Material Published Prior To Policy Period
INJURY LIABILITY
                                                                    "Personal and advertising injury" arising out of
1. Insuring Agreement                                               oral or written publication, in any manner, of
   a. We will pay those sums that the insured                       material whose first publication took place
       becomes legally obligated to pay as damages                  before the beginning of the policy period.
       because of "personal and advertising injury" to           d. Criminal Acts
       which this insurance applies. We will have the
       right and duty to defend the insured against                 "Personal and advertising injury" arising out of
       any "suit" seeking those damages. However,                   a criminal act committed by or at the direction
       we will have no duty to defend the insured                   of the insured.
       against any "suit" seeking damages for                    e. Contractual Liability
       "personal and advertising injury" to which this
       insurance does not apply. We may, at our                     "Personal and advertising injury" for which the
       discretion, investigate any offense and settle               insured has assumed liability in a contract or
                                                                    agreement. This exclusion does not apply to
       any claim or "suit" that may result. But:
                                                                    liability for damages that the insured would
      (1) The amount we will pay for damages is                     have in the absence of the contract or
           limited as described in Section III – Limits             agreement.
           Of Insurance; and
                                                                  f. Breach Of Contract
     (2) Our right and duty to defend end when we
          have used up the applicable limit of                       "Personal and advertising injury" arising out of
          insurance in the payment of judgments or                   a breach of contract, except an implied
          settlements under Coverages A or B or                      contract to use another's advertising idea in
                                                                     your "advertisement".
          medical expenses under Coverage C.
      No other obligation or liability to pay sums or            g. Quality Or Performance Of Goods – Failure
      perform acts or services is covered unless                    To Conform To Statements
      explicitly provided for under Supplementary                   "Personal and advertising injury" arising out of
      Payments – Coverages A and B.                                 the failure of goods, products or services to
                                                                    conform with any statement of quality or
   b. This insurance applies to "personal and
      advertising injury" caused by an offense arising              performance made in your "advertisement".
      out of your business but only if the offense was           h. Wrong Description Of Prices
      committed in the "coverage territory" during the              "Personal and advertising injury" arising out of
      policy period.                                                the wrong description of the price of goods,
                                                                    products or services stated in your
                                                                    "advertisement".




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   i. Infringement Of Copyright, Patent,                      n. Pollution-related
      Trademark Or Trade Secret                                  Any loss, cost or expense arising out of any:
      "Personal and advertising injury" arising out of          (1) Request, demand, order or statutory or
      the infringement of copyright, patent,                        regulatory requirement that any insured or
      trademark, trade secret or other intellectual                 others test for, monitor, clean up, remove,
      property rights. Under this exclusion, such                   contain, treat, detoxify or neutralize, or in
      other intellectual property rights do not include             any way respond to, or assess the effects
      the use of another's advertising idea in your                 of, "pollutants"; or
      "advertisement".
                                                                (2) Claim or suit by or on behalf of a
      However, this exclusion does not apply to                     governmental authority for damages
      infringement, in your "advertisement", of                     because of testing for, monitoring, cleaning
      copyright, trade dress or slogan.                             up,     removing,      containing,      treating,
   j. Insureds In Media And Internet Type                           detoxifying or neutralizing, or in any way
      Businesses                                                    responding to, or assessing the effects of,
      "Personal and advertising injury" committed by                "pollutants".
      an insured whose business is:                           o. War
     (1) Advertising, broadcasting, publishing or                "Personal and advertising injury", however
         telecasting;                                            caused, arising, directly or indirectly, out of:
     (2) Designing or determining content of web                (1) War, including undeclared or civil war;
          sites for others; or                                  (2) Warlike action by a military force, including
     (3) An Internet search, access, content or                      action in hindering or defending against an
          service provider.                                          actual or expected attack, by any
      However, this exclusion does not apply to                      government, sovereign or other authority
      Paragraphs 14.a., b. and c. of "personal and                   using military personnel or other agents; or
      advertising injury" under the Definitions                 (3) Insurrection, rebellion, revolution, usurped
      section.                                                       power, or action taken by governmental
      For the purposes of this exclusion, the placing                authority in hindering or defending against
      of frames, borders or links, or advertising, for               any of these.
      you or others anywhere on the Internet, is not          p. Recording And Distribution Of Material Or
      by itself, considered the business of                      Information In Violation Of Law
      advertising, broadcasting, publishing or                   "Personal and advertising injury" arising
      telecasting.                                               directly or indirectly out of any action or
   k. Electronic Chatrooms Or Bulletin Boards                    omission that violates or is alleged to violate:
      "Personal and advertising injury" arising out of          (1) The Telephone Consumer Protection Act
      an electronic chatroom or bulletin board the                   (TCPA), including any amendment of or
      insured hosts, owns, or over which the insured                 addition to such law;
      exercises control.                                         (2) The CAN-SPAM Act of 2003, including any
   l. Unauthorized Use Of Another's Name Or                          amendment of or addition to such law;
      Product                                                    (3) The Fair Credit Reporting Act (FCRA), and
      "Personal and advertising injury" arising out of               any amendment of or addition to such law,
      the unauthorized use of another's name or                      including the Fair and Accurate Credit
      product in your e-mail address, domain name                    Transactions Act (FACTA); or
      or metatag, or any other similar tactics to                (4) Any federal, state or local statute,
      mislead another's potential customers.                         ordinance or regulation, other than the
  m. Pollution                                                       TCPA, CAN-SPAM Act of 2003 or FCRA
     "Personal and advertising injury" arising out of                and their amendments and additions, that
     the actual, alleged or threatened discharge,                    addresses, prohibits, or limits the printing,
     dispersal, seepage, migration, release or                       dissemination,     disposal,       collecting,
     escape of "pollutants" at any time.                             recording,      sending,        transmitting,
                                                                     communicating or distribution of material or
                                                                     information.




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COVERAGE C – MEDICAL PAYMENTS                                  d. Workers' Compensation And Similar Laws
1. Insuring Agreement                                             To a person, whether or not an "employee" of
   a. We will pay medical expenses as described                   any insured, if benefits for the "bodily injury"
       below for "bodily injury" caused by an accident:           are payable or must be provided under a
                                                                  workers' compensation or disability benefits
      (1) On premises you own or rent;                            law or a similar law.
      (2) On ways next to premises you own or rent;            e. Athletics Activities
           or
                                                                  To a person injured while practicing, instructing
      (3) Because of your operations;                             or participating in any physical exercises or
       provided that:                                             games, sports, or athletic contests.
          (a) The accident takes place in the                   f. Products-Completed Operations Hazard
              "coverage territory" and during the policy           Included within the "products-completed
              period;                                              operations hazard".
         (b) The expenses are incurred and reported            g. Coverage A Exclusions
              to us within one year of the date of the
              accident; and                                        Excluded under Coverage A.
         (c) The injured person submits to                  SUPPLEMENTARY PAYMENTS – COVERAGES A
             examination, at our expense, by                AND B
             physicians of our choice as often as we        1. We will pay, with respect to any claim we
             reasonably require.                               investigate or settle, or any "suit" against an
   b. We will make these payments regardless of                insured we defend:
      fault. These payments will not exceed the                a. All expenses we incur.
      applicable limit of insurance. We will pay               b. Up to $250 for cost of bail bonds required
      reasonable expenses for:                                     because of accidents or traffic law violations
      (1) First aid administered at the time of an                 arising out of the use of any vehicle to which
          accident;                                                the Bodily Injury Liability Coverage applies. We
      (2) Necessary medical, surgical, X-ray and                   do not have to furnish these bonds.
          dental    services,  including  prosthetic           c. The cost of bonds to release attachments, but
          devices; and                                             only for bond amounts within the applicable
     (3) Necessary         ambulance,         hospital,            limit of insurance. We do not have to furnish
          professional nursing and funeral services.               these bonds.
2. Exclusions                                                  d. All reasonable expenses incurred by the
                                                                   insured at our request to assist us in the
   We will not pay expenses for "bodily injury":                   investigation or defense of the claim or "suit",
   a. Any Insured                                                  including actual loss of earnings up to $250 a
                                                                   day because of time off from work.
      To any insured, except "volunteer workers".
   b. Hired Person                                             e. All court costs taxed against the insured in the
                                                                  "suit". However, these payments do not include
      To a person hired to do work for or on behalf of            attorneys' fees or attorneys' expenses taxed
      any insured or a tenant of any insured.                     against the insured.
   c. Injury On Normally Occupied Premises                      f. Prejudgment interest awarded against the
      To a person injured on that part of premises                 insured on that part of the judgment we pay. If
      you own or rent that the person normally                     we make an offer to pay the applicable limit of
      occupies.                                                    insurance, we will not pay any prejudgment
                                                                   interest based on that period of time after the
                                                                   offer.




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   g. All interest on the full amount of any judgment            So long as the above conditions are met,
       that accrues after entry of the judgment and              attorneys' fees incurred by us in the defense of
       before we have paid, offered to pay, or                   that indemnitee, necessary litigation expenses
       deposited in court the part of the judgment that          incurred by us and necessary litigation expenses
       is within the applicable limit of insurance.              incurred by the indemnitee at our request will be
   These payments will not reduce the limits of                  paid        as       Supplementary     Payments.
   insurance.                                                    Notwithstanding the provisions of Paragraph
                                                                 2.b.(2) of Section I – Coverage A – Bodily Injury
2. If we defend an insured against a "suit" and an               And Property Damage Liability, such payments will
   indemnitee of the insured is also named as a party            not be deemed to be damages for "bodily injury"
   to the "suit", we will defend that indemnitee if all of       and "property damage" and will not reduce the
   the following conditions are met:                             limits of insurance.
   a. The "suit" against the indemnitee seeks                    Our obligation to defend an insured's indemnitee
       damages for which the insured has assumed                 and to pay for attorneys' fees and necessary
       the liability of the indemnitee in a contract or          litigation expenses as Supplementary Payments
       agreement that is an "insured contract";                  ends when we have used up the applicable limit of
   b. This insurance applies to such liability                   insurance in the payment of judgments or
       assumed by the insured;                                   settlements or the conditions set forth above, or
                                                                 the terms of the agreement described in
   c. The obligation to defend, or the cost of the
                                                                 Paragraph f. above, are no longer met.
      defense of, that indemnitee, has also been
      assumed by the insured in the same "insured             SECTION II – WHO IS AN INSURED
      contract";                                              1. If you are designated in the Declarations as:
   d. The allegations in the "suit" and the information          a. An individual, you and your spouse are
      we know about the "occurrence" are such that                   insureds, but only with respect to the conduct
      no conflict appears to exist between the                       of a business of which you are the sole owner.
      interests of the insured and the interests of the
      indemnitee;                                                b. A partnership or joint venture, you are an
                                                                     insured. Your members, your partners, and
   e. The indemnitee and the insured ask us to                       their spouses are also insureds, but only with
      conduct and control the defense of that                        respect to the conduct of your business.
      indemnitee against such "suit" and agree that
      we can assign the same counsel to defend the               c. A limited liability company, you are an insured.
      insured and the indemnitee; and                                Your members are also insureds, but only with
                                                                     respect to the conduct of your business. Your
   f. The indemnitee:                                                managers are insureds, but only with respect
     (1) Agrees in writing to:                                       to their duties as your managers.
         (a) Cooperate with us in the investigation,             d. An organization other than a partnership, joint
             settlement or defense of the "suit";                   venture or limited liability company, you are an
                                                                    insured. Your "executive officers" and directors
         (b) Immediately send us copies of any
                                                                    are insureds, but only with respect to their
             demands, notices, summonses or legal
             papers received in connection with the                 duties as your officers or directors. Your
             "suit";                                                stockholders are also insureds, but only with
                                                                    respect to their liability as stockholders.
         (c) Notify any other insurer whose coverage
             is available to the indemnitee; and                 e. A trust, you are an insured. Your trustees are
                                                                    also insureds, but only with respect to their
         (d) Cooperate with us with respect to                      duties as trustees.
             coordinating other applicable insurance
             available to the indemnitee; and
      (2) Provides us with written authorization to:
         (a) Obtain records and other information
             related to the "suit"; and
         (b) Conduct and control the defense of the
             indemnitee in such "suit".




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2. Each of the following is also an insured:                   c. Any person or organization having proper
   a. Your "volunteer workers" only while performing              temporary custody of your property if you die,
      duties related to the conduct of your business,             but only:
      or your "employees", other than either your                (1) With respect to liability arising out of the
      "executive officers" (if you are an organization               maintenance or use of that property; and
      other than a partnership, joint venture or limited          (2) Until your legal representative has been
      liability company) or your managers (if you are                 appointed.
      a limited liability company), but only for acts
      within the scope of their employment by you or           d. Your legal representative if you die, but only
      while performing duties related to the conduct               with respect to duties as such. That
      of your business. However, none of these                     representative will have all your rights and
      "employees" or "volunteer workers" are                       duties under this Coverage Part.
      insureds for:                                         3. Any organization you newly acquire or form, other
     (1) "Bodily injury" or "personal and advertising          than a partnership, joint venture or limited liability
          injury":                                             company, and over which you maintain ownership
                                                               or majority interest, will qualify as a Named
         (a) To you, to your partners or members (if           Insured if there is no other similar insurance
             you are a partnership or joint venture),          available to that organization. However:
             to your members (if you are a limited
             liability company), to a co-"employee"            a. Coverage under this provision is afforded only
             while in the course of his or her                    until the 90th day after you acquire or form the
             employment or performing duties related              organization or the end of the policy period,
             to the conduct of your business, or to               whichever is earlier;
             your other "volunteer workers" while               b. Coverage A does not apply to "bodily injury" or
             performing duties related to the conduct              "property damage" that occurred before you
             of your business;                                     acquired or formed the organization; and
         (b) To the spouse, child, parent, brother or           c. Coverage B does not apply to "personal and
             sister of that co-"employee" or                       advertising injury" arising out of an offense
             "volunteer worker" as a consequence of                committed before you acquired or formed the
             Paragraph (1)(a) above;                               organization.
         (c) For which there is any obligation to           No person or organization is an insured with respect
             share damages with or repay someone            to the conduct of any current or past partnership, joint
             else who must pay damages because of           venture or limited liability company that is not shown
             the injury described in Paragraph (1)(a)       as a Named Insured in the Declarations.
             or (b) above; or                               SECTION III – LIMITS OF INSURANCE
         (d) Arising out of his or her providing or         1. The Limits of Insurance shown in the Declarations
             failing to provide professional health             and the rules below fix the most we will pay
             care services.
                                                                regardless of the number of:
      (2) "Property damage" to property:                        a. Insureds;
         (a) Owned, occupied or used by;                        b. Claims made or "suits" brought; or
         (b) Rented to, in the care, custody or                 c. Persons or organizations making claims or
             control of, or over which physical control            bringing "suits".
             is being exercised for any purpose by;
                                                            2. The General Aggregate Limit is the most we will
          you, any of your "employees", "volunteer              pay for the sum of:
          workers", any partner or member (if you are
          a partnership or joint venture), or any              a. Medical expenses under Coverage C;
          member (if you are a limited liability               b. Damages under Coverage A, except damages
          company).                                               because of "bodily injury" or "property damage"
   b. Any person (other than your "employee" or                   included in the "products-completed operations
      "volunteer worker"), or any organization while              hazard"; and
      acting as your real estate manager.                      c. Damages under Coverage B.




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3. The Products-Completed Operations Aggregate                  (3) The nature and location of any injury or
    Limit is the most we will pay under Coverage A for               damage arising out of the "occurrence" or
    damages because of "bodily injury" and "property                 offense.
    damage" included in the "products-completed               b. If a claim is made or "suit" is brought against
    operations hazard".                                          any insured, you must:
4. Subject to Paragraph 2. above, the Personal And               (1) Immediately record the specifics of the
    Advertising Injury Limit is the most we will pay                 claim or "suit" and the date received; and
    under Coverage B for the sum of all damages
    because of all "personal and advertising injury"             (2) Notify us as soon as practicable.
    sustained by any one person or organization.                  You must see to it that we receive written
5. Subject to Paragraph 2. or 3. above, whichever                 notice of the claim or "suit" as soon as
    applies, the Each Occurrence Limit is the most we             practicable.
    will pay for the sum of:                                  c. You and any other involved insured must:
    a. Damages under Coverage A; and                            (1) Immediately send us copies of any
    b. Medical expenses under Coverage C                            demands, notices, summonses or legal
                                                                    papers received in connection with the
    because of all "bodily injury" and "property                    claim or "suit";
    damage" arising out of any one "occurrence".
                                                                 (2) Authorize us to obtain records and other
6. Subject to Paragraph 5. above, the Damage To                      information;
    Premises Rented To You Limit is the most we will
    pay under Coverage A for damages because of                  (3) Cooperate with us in the investigation or
    "property damage" to any one premises, while                     settlement of the claim or defense against
    rented to you, or in the case of damage by fire,                 the "suit"; and
    while rented to you or temporarily occupied by you          (4) Assist us, upon our request, in the
    with permission of the owner.                                     enforcement of any right against any
7. Subject to Paragraph 5. above, the Medical                         person or organization which may be liable
    Expense Limit is the most we will pay under                       to the insured because of injury or damage
    Coverage C for all medical expenses because of                    to which this insurance may also apply.
    "bodily injury" sustained by any one person.              d. No insured will, except at that insured's own
The Limits of Insurance of this Coverage Part apply              cost, voluntarily make a payment, assume any
separately to each consecutive annual period and to              obligation, or incur any expense, other than for
any remaining period of less than 12 months, starting            first aid, without our consent.
with the beginning of the policy period shown in the       3. Legal Action Against Us
Declarations, unless the policy period is extended
                                                              No person or organization has a right under this
after issuance for an additional period of less than 12       Coverage Part:
months. In that case, the additional period will be
deemed part of the last preceding period for purposes         a. To join us as a party or otherwise bring us into
of determining the Limits of Insurance.                          a "suit" asking for damages from an insured; or
SECTION IV – COMMERCIAL GENERAL LIABILITY                     b. To sue us on this Coverage Part unless all of
CONDITIONS                                                        its terms have been fully complied with.
1. Bankruptcy                                                 A person or organization may sue us to recover on
                                                              an agreed settlement or on a final judgment
    Bankruptcy or insolvency of the insured or of the         against an insured; but we will not be liable for
    insured's estate will not relieve us of our
                                                              damages that are not payable under the terms of
    obligations under this Coverage Part.                     this Coverage Part or that are in excess of the
2. Duties In The Event Of Occurrence, Offense,                applicable limit of insurance. An agreed settlement
    Claim Or Suit                                             means a settlement and release of liability signed
    a. You must see to it that we are notified as soon        by us, the insured and the claimant or the
        as practicable of an "occurrence" or an offense       claimant's legal representative.
        which may result in a claim. To the extent
        possible, notice should include:
       (1) How, when and where the "occurrence" or
            offense took place;
      (2) The names and addresses of any injured
          persons and witnesses; and




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4. Other Insurance                                                 (3) When this insurance is excess over other
   If other valid and collectible insurance is available               insurance, we will pay only our share of the
   to the insured for a loss we cover under                            amount of the loss, if any, that exceeds the
   Coverages A or B of this Coverage Part, our                         sum of:
   obligations are limited as follows:                                 (a) The total amount that all such other
   a. Primary Insurance                                                     insurance would pay for the loss in the
                                                                            absence of this insurance; and
      This insurance is primary except when
      Paragraph b. below applies. If this insurance is                (b) The total of all deductible and self-
      primary, our obligations are not affected unless                      insured amounts under all that other
      any of the other insurance is also primary.                           insurance.
      Then, we will share with all that other                     (4) We will share the remaining loss, if any,
      insurance by the method described in                              with any other insurance that is not
      Paragraph c. below.                                               described in this Excess Insurance
   b. Excess Insurance                                                  provision and was not bought specifically to
                                                                        apply in excess of the Limits of Insurance
     (1) This insurance is excess over:                                 shown in the Declarations of this Coverage
        (a) Any of the other insurance, whether                         Part.
             primary, excess, contingent or on any              c. Method Of Sharing
             other basis:
                                                                   If all of the other insurance permits contribution
             (i) That is Fire, Extended Coverage,                  by equal shares, we will follow this method
                 Builder's Risk, Installation Risk or              also. Under this approach each insurer
                 similar coverage for "your work";                 contributes equal amounts until it has paid its
            (ii) That is Fire insurance for premises               applicable limit of insurance or none of the loss
                 rented to you or temporarily                      remains, whichever comes first.
                 occupied by you with permission of                If any of the other insurance does not permit
                 the owner;                                        contribution by equal shares, we will contribute
           (iii) That is insurance purchased by you                by limits. Under this method, each insurer's
                 to cover your liability as a tenant for           share is based on the ratio of its applicable
                 "property damage" to premises                     limit of insurance to the total applicable limits of
                 rented to you or temporarily                      insurance of all insurers.
                 occupied by you with permission of          5. Premium Audit
                 the owner; or
                                                                a. We will compute all premiums for this
            (iv) If the loss arises out of the                     Coverage Part in accordance with our rules
                  maintenance or use of aircraft,                  and rates.
                  "autos" or watercraft to the extent not
                  subject to Exclusion g. of Section I –        b. Premium shown in this Coverage Part as
                  Coverage A – Bodily Injury And                   advance premium is a deposit premium only.
                  Property Damage Liability.                       At the close of each audit period we will
                                                                   compute the earned premium for that period
         (b) Any other primary insurance available to              and send notice to the first Named Insured.
              you covering liability for damages                   The due date for audit and retrospective
              arising out of the premises or                       premiums is the date shown as the due date
              operations, or the products and                      on the bill. If the sum of the advance and audit
              completed operations, for which you                  premiums paid for the policy period is greater
              have been added as an additional                     than the earned premium, we will return the
              insured.                                             excess to the first Named Insured.
      (2) When this insurance is excess, we will have           c. The first Named Insured must keep records of
          no duty under Coverages A or B to defend                 the information we need for premium
          the insured against any "suit" if any other              computation, and send us copies at such times
          insurer has a duty to defend the insured                 as we may request.
          against that "suit". If no other insurer
          defends, we will undertake to do so, but we        6. Representations
          will be entitled to the insured's rights              By accepting this policy, you agree:
          against all those other insurers.                     a. The statements in the Declarations are
                                                                   accurate and complete;




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   b. Those     statements      are     based    upon            However, "auto" does not include "mobile
      representations you made to us; and                        equipment".
   c. We have issued this policy in reliance upon             3. "Bodily injury" means bodily injury, sickness or
      your representations.                                      disease sustained by a person, including death
7. Separation Of Insureds                                        resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and        4. "Coverage territory" means:
   any rights or duties specifically assigned in this            a. The United States of America (including its
   Coverage Part to the first Named Insured, this                   territories and possessions), Puerto Rico and
   insurance applies:                                               Canada;
   a. As if each Named Insured were the only                     b. International waters or airspace, but only if the
      Named Insured; and                                            injury or damage occurs in the course of travel
   b. Separately to each insured against whom claim                 or transportation between any places included
       is made or "suit" is brought.                                in Paragraph a. above; or
8. Transfer Of Rights Of Recovery Against Others                 c. All other parts of the world if the injury or
   To Us                                                            damage arises out of:
   If the insured has rights to recover all or part of             (1) Goods or products made or sold by you in
   any payment we have made under this Coverage                         the territory described in Paragraph a.
   Part, those rights are transferred to us. The                        above;
   insured must do nothing after loss to impair them.              (2) The activities of a person whose home is in
   At our request, the insured will bring "suit" or                     the territory described in Paragraph a.
   transfer those rights to us and help us enforce                      above, but is away for a short time on your
   them.                                                                business; or
9. When We Do Not Renew                                            (3) "Personal and advertising injury" offenses
   If we decide not to renew this Coverage Part, we                     that take place through the Internet or
   will mail or deliver to the first Named Insured                      similar electronic means of communication;
   shown in the Declarations written notice of the                  provided the insured's responsibility to pay
   nonrenewal not less than 30 days before the                      damages is determined in a "suit" on the
   expiration date.                                                 merits, in the territory described in Paragraph
   If notice is mailed, proof of mailing will be sufficient         a. above or in a settlement we agree to.
   proof of notice.                                           5. "Employee"      includes    a   "leased    worker".
SECTION V – DEFINITIONS                                          "Employee" does not include a "temporary
                                                                 worker".
1. "Advertisement" means a notice that is broadcast
   or published to the general public or specific             6. "Executive officer" means a person holding any of
   market segments about your goods, products or                 the officer positions created by your charter,
   services for the purpose of attracting customers or           constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:              document.
   a. Notices that are published include material             7. "Hostile fire" means one which becomes
       placed on the Internet or on similar electronic           uncontrollable or breaks out from where it was
       means of communication; and                               intended to be.
   b. Regarding web sites, only that part of a web            8. "Impaired property" means tangible property, other
       site that is about your goods, products or                than "your product" or "your work", that cannot be
       services for the purposes of attracting                   used or is less useful because:
       customers or supporters is considered an                  a. It incorporates "your product" or "your work"
       advertisement.                                                that is known or thought to be defective,
2. "Auto" means:                                                     deficient, inadequate or dangerous; or
   a. A land motor vehicle, trailer or semitrailer               b. You have failed to fulfill the terms of a contract
       designed for travel on public roads, including                or agreement;
       any attached machinery or equipment; or                   if such property can be restored to use by the
   b. Any other land vehicle that is subject to a                repair, replacement, adjustment or removal of
       compulsory or financial responsibility law or             "your product" or "your work" or your fulfilling the
       other motor vehicle insurance law where it is             terms of the contract or agreement.
       licensed or principally garaged.




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9. "Insured contract" means:                                 10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,               a labor leasing firm under an agreement between
       that portion of the contract for a lease of               you and the labor leasing firm, to perform duties
       premises that indemnifies any person or                   related to the conduct of your business. "Leased
       organization for damage by fire to premises               worker" does not include a "temporary worker".
       while rented to you or temporarily occupied by        11. "Loading or unloading" means the handling of
       you with permission of the owner is not an                property:
       "insured contract";                                       a. After it is moved from the place where it is
   b. A sidetrack agreement;                                         accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in                   watercraft or "auto";
      connection with construction or demolition                 b. While it is in or on an aircraft, watercraft or
      operations on or within 50 feet of a railroad;                 "auto"; or
   d. An obligation, as required by ordinance, to                c. While it is being moved from an aircraft,
      indemnify a municipality, except in connection                 watercraft or "auto" to the place where it is
      with work for a municipality;                                  finally delivered;
   e. An elevator maintenance agreement;                         but "loading or unloading" does not include the
   f. That part of any other contract or agreement               movement of property by means of a mechanical
      pertaining to your business (including an                  device, other than a hand truck, that is not
      indemnification of a municipality in connection            attached to the aircraft, watercraft or "auto".
      with work performed for a municipality) under          12. "Mobile equipment" means any of the following
      which you assume the tort liability of another             types of land vehicles, including any attached
      party to pay for "bodily injury" or "property              machinery or equipment:
      damage" to a third person or organization. Tort           a. Bulldozers, farm machinery, forklifts and other
      liability means a liability that would be imposed            vehicles designed for use principally off public
      by law in the absence of any contract or                     roads;
      agreement.
                                                                b. Vehicles maintained for use solely on or next to
      Paragraph f. does not include that part of any               premises you own or rent;
      contract or agreement:
                                                                c. Vehicles that travel on crawler treads;
     (1) That indemnifies a railroad for "bodily injury"
          or "property damage" arising out of                   d. Vehicles, whether self-propelled or not,
          construction or demolition operations, within            maintained primarily to provide mobility to
          50 feet of any railroad property and                     permanently mounted:
          affecting any railroad bridge or trestle,               (1) Power cranes, shovels, loaders, diggers or
          tracks, road-beds, tunnel, underpass or                     drills; or
          crossing;
                                                                  (2) Road construction or resurfacing equipment
     (2) That indemnifies an architect, engineer or                    such as graders, scrapers or rollers;
          surveyor for injury or damage arising out of:
                                                                e. Vehicles not described in Paragraph a., b., c.
         (a) Preparing, approving, or failing to                   or d. above that are not self-propelled and are
             prepare or approve, maps, shop                        maintained primarily to provide mobility to
             drawings, opinions, reports, surveys,                 permanently attached equipment of the
             field orders, change orders or drawings               following types:
             and specifications; or                               (1) Air compressors, pumps and generators,
         (b) Giving directions or instructions, or                     including spraying, welding, building
             failing to give them, if that is the primary              cleaning, geophysical exploration, lighting
             cause of the injury or damage; or                         and well servicing equipment; or
     (3) Under which the insured, if an architect,                (2) Cherry pickers and similar devices used to
         engineer or surveyor, assumes liability for                   raise or lower workers;
         an injury or damage arising out of the
                                                                 f. Vehicles not described in Paragraph a., b., c.
         insured's rendering or failure to render
                                                                    or d. above maintained primarily for purposes
         professional services, including those listed              other than the transportation of persons or
         in (2) above and supervisory, inspection,                  cargo.
         architectural or engineering activities.




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      However, self-propelled vehicles with the             16. "Products-completed operations hazard":
      following types of permanently attached                   a. Includes all "bodily injury" and "property
      equipment are not "mobile equipment" but will                damage" occurring away from premises you
      be considered "autos":                                       own or rent and arising out of "your product" or
      (1) Equipment designed primarily for:                        "your work" except:
         (a) Snow removal;                                        (1) Products that are still in your physical
         (b) Road maintenance, but not construction                   possession; or
              or resurfacing; or                                  (2) Work that has not yet been completed or
         (c) Street cleaning;                                         abandoned. However, "your work" will be
                                                                      deemed completed at the earliest of the
      (2) Cherry pickers and similar devices mounted                  following times:
          on automobile or truck chassis and used to
          raise or lower workers; and                                (a) When all of the work called for in your
                                                                          contract has been completed.
      (3) Air compressors, pumps and generators,
          including spraying, welding, building                      (b) When all of the work to be done at the
          cleaning, geophysical exploration, lighting                     job site has been completed if your
          and well servicing equipment.                                   contract calls for work at more than one
                                                                          job site.
    However, "mobile equipment" does not include
    any land vehicles that are subject to a compulsory               (c) When that part of the work done at a job
    or financial responsibility law or other motor                        site has been put to its intended use by
    vehicle insurance law where it is licensed or                         any person or organization other than
    principally garaged. Land vehicles subject to a                       another contractor or subcontractor
    compulsory or financial responsibility law or other                   working on the same project.
    motor vehicle insurance law are considered                        Work that may need service, maintenance,
    "autos".                                                          correction, repair or replacement, but which
13. "Occurrence" means an accident, including                         is otherwise complete, will be treated as
    continuous or repeated exposure to substantially                  completed.
    the same general harmful conditions.                       b. Does not include "bodily injury" or "property
14. "Personal and advertising injury" means injury,               damage" arising out of:
    including consequential "bodily injury", arising out         (1) The transportation of property, unless the
    of one or more of the following offenses:                        injury or damage arises out of a condition in
    a. False arrest, detention or imprisonment;                      or on a vehicle not owned or operated by
                                                                     you, and that condition was created by the
    b. Malicious prosecution;                                        "loading or unloading" of that vehicle by any
    c. The wrongful eviction from, wrongful entry into,              insured;
        or invasion of the right of private occupancy of          (2) The existence of tools, uninstalled
        a room, dwelling or premises that a person                    equipment or abandoned or unused
        occupies, committed by or on behalf of its                    materials; or
        owner, landlord or lessor;
                                                                  (3) Products or operations for which the
   d. Oral or written publication, in any manner, of                  classification, listed in the Declarations or in
      material that slanders or libels a person or                    a policy Schedule, states that products-
      organization or disparages a person's or                        completed operations are subject to the
      organization's goods, products or services;                     General Aggregate Limit.
   e. Oral or written publication, in any manner, of        17. "Property damage" means:
      material that violates a person's right of
      privacy;                                                  a. Physical injury to tangible property, including
                                                                   all resulting loss of use of that property. All
   f. The use of another's advertising idea in your                such loss of use shall be deemed to occur at
      "advertisement"; or                                          the time of the physical injury that caused it; or
    g. Infringing upon another's copyright, trade dress        b. Loss of use of tangible property that is not
       or slogan in your "advertisement".                         physically injured. All such loss of use shall be
15. "Pollutants" mean any solid, liquid, gaseous or               deemed to occur at the time of the
    thermal irritant or contaminant, including smoke,             "occurrence" that caused it.
    vapor, soot, fumes, acids, alkalis, chemicals and          For the purposes of this insurance, electronic data
    waste. Waste includes materials to be recycled,            is not tangible property.
    reconditioned or reclaimed.



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    As used in this definition, electronic data means          b. Includes:
    information, facts or programs stored as or on,              (1) Warranties or representations made at any
    created or used on, or transmitted to or from                     time with respect to the fitness, quality,
    computer software, including systems and                          durability, performance or use of "your
    applications software, hard or floppy disks, CD-                  product"; and
    ROMs, tapes, drives, cells, data processing
    devices or any other media which are used with               (2) The providing of or failure to provide
    electronically controlled equipment.                             warnings or instructions.
18. "Suit" means a civil proceeding in which damages           c. Does not include vending machines or other
    because of "bodily injury", "property damage" or              property rented to or located for the use of
    "personal and advertising injury" to which this               others but not sold.
    insurance applies are alleged. "Suit" includes:         22. "Your work":
    a. An arbitration proceeding in which such                  a. Means:
        damages are claimed and to which the insured
                                                                  (1) Work or operations performed by you or on
        must submit or does submit with our consent;
                                                                       your behalf; and
        or
                                                                  (2) Materials, parts or equipment furnished in
    b. Any other alternative dispute resolution                        connection with such work or operations.
        proceeding in which such damages are
        claimed and to which the insured submits with           b. Includes:
        our consent.                                              (1) Warranties or representations made at any
19. "Temporary worker" means a person who is                           time with respect to the fitness, quality,
    furnished to you to substitute for a permanent                     durability, performance or use of "your
    "employee" on leave or to meet seasonal or short-                  work"; and
    term workload conditions.                                     (2) The providing of or failure to provide
20. "Volunteer worker" means a person who is not                       warnings or instructions.
    your "employee", and who donates his or her work
    and acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone
    else for their work performed for you.
21. "Your product":
    a. Means:
      (1) Any goods or products, other than real
           property, manufactured, sold, handled,
           distributed or disposed of by:
          (a) You;
          (b) Others trading under your name; or
          (c) A person or organization whose
               business or assets you have acquired;
               and
      (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




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                                                                                                      IL 00 17 11 98


                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                      b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                      and
       tions may cancel this policy by mailing or deliv-             c. Recommend changes.
       ering to us advance written notice of cancella-           2. We are not obligated to make any inspections,
       tion.                                                         surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                 such actions we do undertake relate only to in-
       ering to the first Named Insured written notice               surability and the premiums to be charged. We
       of cancellation at least:                                     do not make safety inspections. We do not un-
       a. 10 days before the effective date of cancel-               dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                organization to provide for the health or safety
           mium; or                                                  of workers or the public. And we do not warrant
                                                                     that conditions:
       b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                 a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first                b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to                     standards.
       us.                                                       3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                only to us, but also to any rating, advisory, rate
       date of cancellation. The policy period will end              service or similar organization which makes in-
       on that date.                                                 surance inspections, surveys, reports or rec-
                                                                     ommendations.
   5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we               4. Paragraph 2. of this condition does not apply to
       cancel, the refund will be pro rata. If the first             any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                      mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-              tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                 nances or regulations, of boilers, pressure
       refund.                                                       vessels or elevators.
   6. If notice is mailed, proof of mailing will be suffi-    E. Premiums
       cient proof of notice.                                    The first Named Insured shown in the Declara-
B. Changes                                                       tions:
   This policy contains all the agreements between               1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                     and
   The first Named Insured shown in the Declara-                 2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                  pay.
   of this policy with our consent. This policy's terms       F. Transfer Of Your Rights And Duties Under This
   can be amended or waived only by endorsement                  Policy
   issued by us and made a part of this policy.
                                                                 Your rights and duties under this policy may not
C. Examination Of Your Books And Records                         be transferred without our written consent except
   We may examine and audit your books and rec-                  in the case of death of an individual named in-
   ords as they relate to this policy at any time during         sured.
   the policy period and up to three years afterward.            If you die, your rights and duties will be transferred
D. Inspections And Surveys                                       to your legal representative but only while acting
   1. We have the right to:                                      within the scope of duties as your legal repre-
                                                                 sentative. Until your legal representative is ap-
       a. Make inspections and surveys at any time;              pointed, anyone having proper temporary custody
                                                                 of your property will have your rights and duties
                                                                 but only with respect to that property.




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                                EXCLUSION – ASBESTOS LIABILITY
This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART




IT IS AGREED THAT THIS POLICY DOES NOT APPLY TO:

1.   BODILY INJURY, PROPERTY DAMAGE OR PERSONAL INJURY ARISING OUT OF THE
     MANUFACTURE OF, MINING OF, USE OF, SALE OF, INSTALLATION OF, REMOVAL OF,
     DISTRIBUTION OF OR EXPOSURE TO ASBESTOS, ASBESTOS PRODUCTS, ASBESTOS FIBERS OR
     ASBESTOS DUST;

2.   ANY OBLIGATION OF THE INSURED TO INDEMNIFY ANY PARTY BECAUSE OF DAMAGES ARISING
     OUT OF SUCH BODILY INJURY, PROPERTY DAMAGE OR PERSONAL INJURY AS A RESULT OF
     THE MANUFACTURE OF, MINING OF, USE OF, SALE OF, INSTALLATION OF, REMOVAL OF,
     DISTRIBUTION OF OR EXPOSURE TO ASBESTOS, ASBESTOS PRODUCTS, ASBESTOS FIBERS OR
     ASBESTOS DUST; OR

3.   ANY OBLIGATION TO DEFEND ANY SUIT OR CLAIM AGAINST THE INSURED ALLEGING BODILY
     INJURY, PROPERTY DAMAGE OR PERSONAL INJURY AND SEEKING DAMAGES, IF SUCH SUIT OR
     CLAIM ARISES FROM BODILY INJURY, PROPERTY DAMAGE OR PERSONAL INJURY AS A RESULT
     OF THE MANUFACTURE OF, MINING OF, USE OF, SALE OF, INSTALLATION OF, REMOVAL OF,
     DISTRIBUTION OF OR EXPOSURE TO ASBESTOS, ASBESTOS PRODUCTS, ASBESTOS FIBERS OR
     ASBESTOS DUST.




All other terms and conditions remain unchanged.



AGR-GL 5002 (11-03)                                                           Page 1 of 1
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             EXCLUSION - AIRCRAFT PRODUCTS AND GROUNDING LIABILITY
This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART




IT IS AGREED THAT THIS POLICY SHALL NOT APPLY TO ANY LIABILITY ARISING OUT OF AIRCRAFT
PRODUCTS OR RELIANCE UPON ANY REPRESENTATION OR WARRANTY MADE WITH RESPECT
THERETO, OR TO ANY LIABILITY ARISING OUT OF THE GROUNDING OF ANY AIRCRAFT.

"AIRCRAFT PRODUCTS" MEANS AIRCRAFT (INCLUDING MISSILES OR SPACECRAFT) OR ANY OTHER
GOODS OR PRODUCTS MANUFACTURED, SOLD, HANDLED OR DISTRIBUTED OR SERVICES
PROVIDED OR RECOMMENDED BY THE INSURED OR BY OTHERS TRADING UNDER HIS NAME FOR
USE IN THE MANUFACTURE, REPAIR OPERATION, MAINTENANCE OR USE OF ANY AIRCRAFT.

"GROUNDING" SHALL MEAN THE WITHDRAWAL OF ONE OR MORE AIRCRAFT FROM FLIGHT
OPERATIONS OR THE IMPOSITION OF SPEED, PASSENGER OR LOAD RESTRICTIONS ON SUCH
AIRCRAFT BY REASON OF THE EXISTENCE, OR ALLEGED OR SUSPECTED EXISTENCE, OF ANY
DEFECT, FAULT OR CONDITION IN SUCH AIRCRAFT OR ANY PART THEREOF SOLD, HANDLED OR
DISTRIBUTED BY THE INSURED OR MANUFACTURED, ASSEMBLED OR PROCESSED BY ANY OTHER
PERSON OR ORGANIZATION ACCORDING TO SPECIFICATIONS, PLANS, ORDERS OR DRAWINGS OF
THE INSURED OR WITH TOOLS, MACHINERY OR OTHER EQUIPMENT FURNISHED TO SUCH PERSONS
OR ORGANIZATIONS BY THE INSURED, WHETHER SUCH AIRCRAFT SO WITHDRAWN IS OWNED OR
OPERATED BY THE SAME OR DIFFERENT PERSONS OR ORGANIZATIONS. A GROUNDING SHALL BE
DEEMED TO COMMENCE ON THE DATE OF AN ACCIDENT OR OCCURRENCE WHICH DISCLOSES SUCH
CONDITION, OR ON THE DATE AN AIRCRAFT IS FIRST WITHDRAWN FROM SERVICE ON ACCOUNT OF
SUCH CONDITION, WHICHEVER FIRST OCCURS.

IT IS FURTHER AGREED THAT THE COVERAGE AFFORDED BY THIS POLICY DOES NOT APPLY TO
PAYMENT FOR THE INVESTIGATION OF DEFENSE OF ANY LOSS, INJURY OR DAMAGE OR ANY COST,
FINE OR PENALTY OR FOR ANY EXPENSE RELATED TO ANY OF THE ABOVE.




All other terms and conditions remain unchanged.



AGR-GL 5005 (11-03)                                                           Page 1 of 1
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                       EXCLUSION - TOBACCO AND TOBACCO PRODUCTS
This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          PRODUCTS/COMPLETED OPERATIONS COVERAGE PART



This insurance does not apply to:
1. Any liability, in whole or in part, arising out of or in any way related to the existence, presence, manufacture,
   processing, handling, sale, distribution, ingestion, inhalation, exhalation, absorption, consumption, use of, or
   exposure to, Tobacco or Tobacco Products, including but not limited to:
    a. Any material or substance which is contained in or which forms a part of any Tobacco Product;
    b. Any by-products of Tobacco or Tobacco Products;
    c.   Any supervision, instructions, recommendations, notices, warnings or advice given or which should have
         been given in connection with Tobacco or Tobacco products; or
    d. Any act, error, omission or other conduct committed in the course of advertising or promoting Tobacco or
       Tobacco products.
2. Any injury to any person caused or aggravated by anything described in Paragraph 1. above or to which any-
   thing described in Paragraph 1. above has contributed.
For the purposes of this exclusion:
1. “Tobacco” includes but is not limited to:
    a. Tobacco in any form, whether or not contained in, or incorporated into, products or goods; or
    b. Tobacco smoke or fumes including second-hand smoke.
2. “Tobacco products” means any products or goods that contain Tobacco.




All other terms and conditions remain unchanged.




AGR-GL 5010 (11-04)                                                                                   Page 1 of 1
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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21 47 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,     B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily            Exclusions of Section I – Coverage B – Person-
   Injury And Property Damage Liability:                    al And Advertising Injury Liability:
   This insurance does not apply to:                        This insurance does not apply to:
   "Bodily injury" to:                                      "Personal and advertising injury" to:
  (1) A person arising out of any:                         (1) A person arising out of any:
      (a) Refusal to employ that person;                       (a) Refusal to employ that person;
      (b) Termination of that person's employment;             (b) Termination of that person's employment;
          or                                                       or
     (c) Employment-related practices, policies,               (c) Employment-related practices, policies,
          acts or omissions, such as coercion, demo-                acts or omissions, such as coercion, demo-
          tion, evaluation, reassignment, discipline,               tion, evaluation, reassignment, discipline,
          defamation, harassment, humiliation, dis-                 defamation, harassment, humiliation, dis-
          crimination or malicious prosecution di-                  crimination or malicious prosecution di-
          rected at that person; or                                 rected at that person; or
  (2) The spouse, child, parent, brother or sister of       (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily injury"           that person as a consequence of "personal and
      to that person at whom any of the employment-             advertising injury" to that person at whom any
      related practices described in Paragraphs (a),            of the employment-related practices described
      (b), or (c) above is directed.                            in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                   This exclusion applies:
  (1) Whether the injury-causing event described in         (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before            Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                employment, during employment or after em-
      ployment of that person;                                  ployment of that person;
  (2) Whether the insured may be liable as an em-           (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                      ployer or in any other capacity; and
  (3) To any obligation to share damages with or            (3) To any obligation to share damages with or
      repay someone else who must pay damages                   repay someone else who must pay damages
      because of the injury.                                    because of the injury.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 67 12 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.          B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily                Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                2. Exclusions
       This insurance does not apply to:                           This insurance does not apply to:
       Fungi Or Bacteria                                           Fungi Or Bacteria
       a. "Bodily injury" or "property damage" which               a. "Personal and advertising injury" which
           would not have occurred, in whole or in                     would not have taken place, in whole or in
           part, but for the actual, alleged or threat-                part, but for the actual, alleged or threat-
           ened inhalation of, ingestion of, contact                   ened inhalation of, ingestion of, contact
           with, exposure to, existence of, or presence                with, exposure to, existence of, or presence
           of, any "fungi" or bacteria on or within a                  of any "fungi" or bacteria on or within a
           building or structure, including its contents,              building or structure, including its contents,
           regardless of whether any other cause,                      regardless of whether any other cause,
           event, material or product contributed con-                 event, material or product contributed con-
           currently or in any sequence to such injury                 currently or in any sequence to such injury.
           or damage.                                              b. Any loss, cost or expense arising out of the
       b. Any loss, cost or expenses arising out of                    abating, testing for, monitoring, cleaning up,
           the abating, testing for, monitoring, cleaning              removing, containing, treating, detoxifying,
           up, removing, containing, treating, detoxify-               neutralizing, remediating or disposing of, or
           ing, neutralizing, remediating or disposing                 in any way responding to, or assessing the
           of, or in any way responding to, or as-                     effects of, "fungi" or bacteria, by any in-
           sessing the effects of, "fungi" or bacteria, by             sured or by any other person or entity.
           any insured or by any other person or enti-       C. The following definition is added to the Definitions
           ty.                                                  Section:
       This exclusion does not apply to any "fungi" or          "Fungi" means any type or form of fungus, includ-
       bacteria that are, are on, or are contained in, a        ing mold or mildew and any mycotoxins, spores,
       good or product intended for bodily consump-             scents or byproducts produced or released by
       tion.                                                    fungi.




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 21 71 06 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION OF OTHER ACTS OF TERRORISM
    COMMITTED OUTSIDE THE UNITED STATES; CAP ON
     LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. The following exclusion is added:                               c. Protracted loss of or impairment of the
   This insurance does not apply to:                                  function of a bodily member or organ; or
   TERRORISM                                                    3. The terrorism involves the use, release or
                                                                   escape of nuclear materials, or directly or indi-
   "Any injury or damage" arising, directly or indirect-           rectly results in nuclear reaction or radiation or
   ly, out of an "other act of terrorism" that is commit-          radioactive contamination; or
   ted outside of the United States (including its terri-
   tories and possessions and Puerto Rico), but                 4. The terrorism is carried out by means of the
   within the "coverage territory". However, this ex-              dispersal or application of pathogenic or poi-
   clusion applies only when one or more of the fol-               sonous biological or chemical materials; or
   lowing are attributed to such act:                           5. Pathogenic or poisonous biological or chemical
   1. The total of insured damage to all types of                  materials are released, and it appears that one
      property exceeds $25,000,000 (valued in U.S.                 purpose of the terrorism was to release such
      dollars).    In    determining    whether   the              materials.
      $25,000,000 threshold is exceeded, we will in-            With respect to this exclusion, Paragraphs 1. and
      clude all insured damage sustained by property            2. describe the thresholds used to measure the
      of all persons and entities affected by the ter-          magnitude of an incident of an "other act of terror-
      rorism and business interruption losses sus-              ism" and the circumstances in which the threshold
      tained by owners or occupants of the damaged              will apply for the purpose of determining whether
      property. For the purpose of this provision, in-          this exclusion will apply to that incident.
      sured damage means damage that is covered              B. The following definitions are added:
      by any insurance plus damage that would be
      covered by any insurance but for the applica-             1. For the purposes of this endorsement, "any
      tion of any terrorism exclusions; or                          injury or damage" means any injury or damage
                                                                    covered under any Coverage Part to which this
   2. Fifty or more persons sustain death or serious                endorsement is applicable, and includes but is
      physical injury. For the purposes of this provi-              not limited to "bodily injury", "property dam-
      sion, serious physical injury means:                          age", "personal and advertising injury", "injury"
      a. Physical injury that involves a substantial                or "environmental damage" as may be defined
          risk of death; or                                         in any applicable Coverage Part.
       b. Protracted and obvious physical disfigure-
          ment; or




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   2. "Certified act of terrorism" means an act that is         3. "Other act of terrorism" means a violent act or
      certified by the Secretary of the Treasury, in                an act that is dangerous to human life, property
      concurrence with the Secretary of State and                   or infrastructure that is committed by an indi-
      the Attorney General of the United States, to                 vidual or individuals and that appears to be
      be an act of terrorism pursuant to the federal                part of an effort to coerce a civilian population
      Terrorism Risk Insurance Act. The criteria con-               or to influence the policy or affect the conduct
      tained in the Terrorism Risk Insurance Act for a              of any government by coercion, and the act is
      "certified act of terrorism" include the following:           not a "certified act of terrorism".
      a. The act resulted in insured losses in excess               Multiple incidents of an "other act of terrorism"
          of $5 million in the aggregate, attributable to           which occur within a seventy-two hour period
          all types of insurance subject to the Terror-             and appear to be carried out in concert or to
          ism Risk Insurance Act;                                   have a related purpose or common leadership
      b. The act resulted in damage:                                shall be considered to be one incident.
         (1) Within the United States (including its         C. In the event of an "other act of terrorism" that is
               territories and possessions and Puerto           not subject to this exclusion, coverage does not
               Rico); or                                        apply to any loss or damage that is otherwise ex-
                                                                cluded under this Coverage Part.
         (2) Outside of the United States in the case
             of:                                             D. If aggregate insured losses attributable to terrorist
                                                                acts certified under the federal Terrorism Risk In-
            (a) An air carrier (as defined in Section           surance Act exceed $100 billion in a Program
                 40102 of title 49, United States               Year (January 1 through December 31) and we
                 Code) or United States flag vessel             have met our insurer deductible under the Terror-
                 (or a vessel based principally in the          ism Risk Insurance Act, we shall not be liable for
                 United States, on which United                 the payment of any portion of the amount of such
                 States income tax is paid and whose            losses that exceeds $100 billion, and in such case
                 insurance coverage is subject to               insured losses up to that amount are subject to pro
                 regulation in the United States), re-          rata allocation in accordance with procedures es-
                 gardless of where the loss occurs; or          tablished by the Secretary of the Treasury.
            (b) The premises of any United States
                mission; and
      c. The act is a violent act or an act that is
         dangerous to human life, property or infra-
         structure and is committed by an individual
         or individuals as part of an effort to coerce
         the civilian population of the United States
         or to influence the policy or affect the con-
         duct of the United States Government by
         coercion.




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 21 96 03 05

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,          B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily                 Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                         sonal And Advertising Injury Liability:
   2. Exclusions                                                 2. Exclusions
       This insurance does not apply to:                            This insurance does not apply to:
       Silica Or Silica-Related Dust                                Silica Or Silica-Related Dust
       a. "Bodily injury" arising, in whole or in part,              a. "Personal and advertising injury" arising, in
           out of the actual, alleged, threatened or                    whole or in part, out of the actual, alleged,
           suspected inhalation of, or ingestion of, "sil-              threatened or suspected inhalation of, in-
           ica" or "silica-related dust".                               gestion of, contact with, exposure to, exist-
       b. "Property damage" arising, in whole or in                     ence of, or presence of, "silica" or "silica-
           part, out of the actual, alleged, threatened                 related dust".
           or suspected contact with, exposure to, ex-              b. Any loss, cost or expense arising, in whole
           istence of, or presence of, "silica" or "silica-             or in part, out of the abating, testing for,
           related dust".                                               monitoring, cleaning up, removing, contain-
       c. Any loss, cost or expense arising, in whole                   ing, treating, detoxifying, neutralizing, re-
           or in part, out of the abating, testing for,                 mediating or disposing of, or in any way re-
           monitoring, cleaning up, removing, contain-                  sponding to or assessing the effects of,
           ing, treating, detoxifying, neutralizing, re-                "silica" or "silica-related dust", by any in-
           mediating or disposing of, or in any way re-                 sured or by any other person or entity.
           sponding to or assessing the effects of,           C. The following definitions are added to the Defini-
           "silica" or "silica-related dust", by any in-         tions Section:
           sured or by any other person or entity.               1. "Silica" means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms), sili-
                                                                    ca particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust" means a mixture or com-
                                                                    bination of silica and other dust or particles.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 22 48 07 98

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 EXCLUSION – INSURANCE AND RELATED OPERATIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.,           3. Resulting from the rendering of, or failure to ren-
Exclusions of Section I – Coverage A – Bodily                  der, the following professional services:
Injury And Property Damage Liability and Section I             a. Advising, inspecting, reporting or making rec-
– Coverage B – Personal And Advertising Injury                     ommendations in the insured's capacity as an
Liability:                                                         insurance company, consultant, broker, agent
This insurance does not apply to "bodily injury",                  or representative thereof;
"property damage" or "personal and advertising inju-           b. Effecting insurance, reinsurance or suretyship
ry" for which the insured may be held liable                       coverages;
1. Because of:                                                 c. Investigating, defending or settling any claim
    a. Any obligation assumed by any insured; or                   under any contract or treaty of insurance, self-
    b. The failure to discharge, or the improper dis-              insurance, reinsurance or suretyship;
        charge of, any obligation or duty, contractual or      d. Auditing or maintaining accounts or records of
        otherwise                                                  others;
    with respect to any contract or treaty of insurance,       e. Conducting an investment, loan or real estate
    reinsurance, suretyship, annuity endowment or                  department or operations;
    employee benefit plan, including applications, re-          f. Acting in any capacity as a fiduciary or trustee
    ceipts or binders;                                             for mutual funds, pension or welfare funds, an-
2. Because of the membership in or contribution to or              nuities, endowments, employee benefit plans
    management or administration of any insurance                  or other similar activities; or
    plan, pool, association, insolvency or guarantee           g. Performing any claim, investigative, adjust-
    fund or any similar insurance fund, organization or            ment, engineering, inspection, consulting, sur-
    association, whether voluntary or involuntary;                 vey, audit, appraisal, actuarial or data pro-
                                                                   cessing service for a fee.




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                                                                                                      IL 00 21 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazard-
      or "property damage":                                        ous properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                 (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nucle-                facility" owned by, or operated by or on be-
          ar energy liability policy issued by Nuclear                half of, an "insured" or (b) has been dis-
          Energy Liability Insurance Association, Mu-                 charged or dispersed therefrom;
          tual Atomic Energy Liability Underwriters,              (2) The "nuclear material" is contained in
          Nuclear Insurance Association of Canada                     "spent fuel" or "waste" at any time pos-
          or any of their successors, or would be an                  sessed, handled, used, processed, stored,
          insured under any such policy but for its                   transported or disposed of, by or on behalf
          termination upon exhaustion of its limit of li-             of an "insured"; or
          ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is re-                  connection with the planning, construction,
          quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
          sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
          United States of America, or any agency                      age" to such "nuclear facility" and any
          thereof, under any agreement entered into                    property thereat.
          by the United States of America, or any            2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily inju-           "Nuclear material" means "source material", "spe-
      ry" resulting from the "hazardous properties" of          cial nuclear material" or "by-product material".
      "nuclear material" and arising out of the opera-
      tion of a "nuclear facility" by any person or or-
      ganization.




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   "Source material", "special nuclear material", and             (c) Any equipment or device used for the pro-
   "by-product material" have the meanings given                      cessing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                    nuclear material" if at any time the total
   law amendatory thereof.                                            amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                   the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-                equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                         or contains more than 25 grams of plutoni-
                                                                      um or uranium 233 or any combination
   "Waste" means any waste material (a) containing                    thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                   235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed              (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)               or place prepared or used for the storage or
   resulting from the operation by any person or or-                  disposal of "waste";
   ganization of any "nuclear facility" included under         and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nucle-       is located, all operations conducted on such site
   ar facility".                                               and all premises used for such operations.
   "Nuclear facility" means:                                   "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                               supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used             mass of fissionable material.
           for (1) separating the isotopes of uranium or
           plutonium, (2) processing or utilizing "spent       "Property damage" includes all forms of radioac-
           fuel", or (3) handling, processing or packag-       tive contamination of property.
           ing "waste";




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          AMENDMENT-SUPPLEMENTARY PAYMENTS WITHIN LIMITS OF INSURANCE
This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART




PARAGRAPHS 1.A.(1) AND 1.A.(2) OF SECTION I - COVERAGE A BODILY INJURY AND PROPERTY
DAMAGE LIABILITY AND OF SECTION I - COVERAGE B PERSONAL AND ADVERTISING INJURY
LIABILITY, ARE HEREBY DELETED AND REPLACED BY THE FOLLOWING:

1.A.(1)    THE AMOUNT WE WILL PAY FOR SUPPLEMENTARY PAYMENTS AND/OR DAMAGES IS
           LIMITED AS DESCRIBED IN SECTION III – LIMITS OF INSURANCE; AND

1.A.(2)    OUR RIGHT AND DUTY TO DEFEND ENDS WHEN WE HAVE USED UP THE APPLICABLE LIMIT
           OF INSURANCE FOR SUPPLEMENTARY PAYMENTS AND/OR IN THE PAYMENT OF
           JUDGMENTS OR SETTLEMENTS UNDER COVERAGES A OR B OR MEDICAL EXPENSES
           UNDER COVERAGE C.

THE LAST SENTENCE OF PARAGRAPH 1. OF SECTION I - SUPPLEMENTARY PAYMENTS -
COVERAGES A AND B, IS HEREBY DELETED AND REPLACED BY THE FOLLOWING:

THESE PAYMENTS WILL REDUCE THE LIMITS OF INSURANCE.

THE LAST TWO PARAGRAPHS OF PARAGRAPH 2. OF SECTION I - SUPPLEMENTARY PAYMENTS -
COVERAGES A AND B, ARE HEREBY DELETED AND REPLACED BY THE FOLLOWING:

      SO LONG AS THE ABOVE CONDITIONS ARE MET, ATTORNEYS' FEES INCURRED BY US IN THE
      DEFENSE OF THAT INDEMNITEE, NECESSARY LITIGATION EXPENSES INCURRED BY US AND
      NECESSARY LITIGATION EXPENSES INCURRED BY THE INDEMNITEE AT OUR REQUEST WILL BE
      PAID AS SUPPLEMENTARY PAYMENTS.
      OUR OBLIGATION TO DEFEND AN INSURED'S INDEMNITEE AND TO PAY FOR ATTORNEYS' FEES
      AND NECESSARY LITIGATION EXPENSES AS SUPPLEMENTARY PAYMENTS ENDS WHEN:

      A. WE HAVE USED UP THE APPLICABLE LIMIT OF INSURANCE FOR SUPPLEMENTARY
         PAYMENTS AND/OR IN THE PAYMENT OF JUDGMENTS OR SETTLEMENTS; OR

      B. THE CONDITIONS SET FORTH ABOVE, OR THE TERMS OF THE AGREEMENT DESCRIBED IN
         PARAGRAPH F. ABOVE, ARE NO LONGER MET.




AGR-GL 3004 (11-03)                                                           Page 1 of 2
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PARAGRAPHS 2. THROUGH 6. OF SECTION III - LIMITS OF INSURANCE, ARE HEREBY DELETED AND
REPLACED BY THE FOLLOWING:

 2.   THE GENERAL AGGREGATE LIMIT IS THE MOST WE WILL PAY FOR THE SUM OF:

      A. MEDICAL EXPENSES UNDER COVERAGE C;

      B. SUPPLEMENTARY PAYMENTS AND/OR DAMAGES UNDER COVERAGE A, EXCEPT
         SUPPLEMENTARY PAYMENTS AND DAMAGES BECAUSE OF "BODILY INJURY" AND
         "PROPERTY DAMAGE" INCLUDED IN THE "PRODUCTS-COMPLETED OPERATIONS HAZARD";
         AND

      C. SUPPLEMENTARY PAYMENTS AND/OR DAMAGES UNDER COVERAGE B.

 3.   THE PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT IS THE MOST WE WILL PAY
      UNDER COVERAGE A FOR THE SUM OF ALL SUPPLEMENTARY PAYMENTS AND/OR DAMAGES
      BECAUSE OF "BODILY INJURY" AND "PROPERTY DAMAGE" INCLUDED IN THE "PRODUCTS-
      COMPLETED OPERATIONS HAZARD".

 4.   SUBJECT TO 2. ABOVE, THE PERSONAL AND ADVERTISING INJURY LIMIT IS THE MOST WE WILL
      PAY UNDER COVERAGE B FOR THE SUM OF ALL SUPPLEMENTARY PAYMENTS AND/OR
      DAMAGES BECAUSE OF ALL "PERSONAL AND ADVERTISING INJURY" SUSTAINED BY ANY ONE
      PERSON OR ORGANIZATION.

 5.   SUBJECT TO 2. OR 3. ABOVE, WHICHEVER APPLIES, THE EACH OCCURRENCE LIMIT IS THE
      MOST WE WILL PAY FOR THE SUM OF:

      A. SUPPLEMENTARY PAYMENTS AND/OR DAMAGES UNDER COVERAGE A; AND

      B. MEDICAL EXPENSES UNDER COVERAGE C

      BECAUSE OF ALL "BODILY INJURY" AND "PROPERTY DAMAGE" ARISING OUT OF ANY ONE
      "OCCURRENCE".

 6.   SUBJECT TO 5. ABOVE, THE DAMAGE TO PREMISES RENTED TO YOU LIMIT IS THE MOST WE
      WILL PAY UNDER COVERAGE A FOR THE SUM OF ALL SUPPLEMENTARY PAYMENTS AND/OR
      DAMAGES BECAUSE OF "PROPERTY DAMAGE" TO ANY ONE PREMISES, WHILE RENTED TO
      YOU, OR IN THE CASE OF DAMAGE BY FIRE, WHILE RENTED TO YOU OR TEMPORARILY
      OCCUPIED BY YOU WITH PERMISSION OF THE OWNER.




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.



AGR-GL 3004 (11-03)                                                           Page 2 of 2
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             KNOWLEDGE & NOTICE OF OCCURRENCE, OFFENSE, CLAIM OR SUIT
This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART




UNDER SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, 2. - DUTIES IN THE EVENT OF
OCCURRENCE, OFFENSE, CLAIM OR SUIT, PARAGRAPH a. IS AMENDED AS FOLLOWS:

a.     YOU MUST SEE TO IT THAT WE ARE NOTIFIED AS SOON AS POSSIBLE OF AN "OCCURRENCE",
       OFFENSE, CLAIM OR "SUIT" AFTER YOUR AGENT, CORPORATE INSURANCE MANAGER OR AN
       OFFICER OF YOUR COMPANY BECOMES AWARE OF SUCH "OCCURRENCE", OFFENSE, CLAIM
       OR "SUIT".

       THE FAILURE IN GOOD FAITH OF YOUR AGENT, CORPORATE INSURANCE MANAGER OR AN
       OFFICER OF YOUR COMPANY TO RECOGNIZE THAT SUCH "OCCURRENCE", OFFENSE, CLAIM
       OR "SUIT" MAY INVOLVE THIS INSURANCE SHALL NOT OPERATE TO PREJUDICE YOUR RIGHTS
       UNDER THIS POLICY.

       TO THE EXTENT POSSIBLE, NOTICE SHOULD INCLUDE:

       (1)      HOW, WHEN AND WHERE THE "OCCURRENCE" OR OFFENSE TOOK PLACE;

       (2)      THE NAMES AND ADDRESSES OF ANY INJURED PERSONS AND WITNESSES; AND

       (3)      THE NATURE AND LOCATIONS OF ANY INJURY OR DAMAGE ARISING OUT OF THE
                "OCCURRENCE" OR OFFENSE.




All other terms and conditions remain unchanged.




AGR-GL 4502 (11-03)                                                           Page 1 of 1
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                    ADDITIONAL CONDITION - UNDISCLOSED EXPOSURES
This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART
       PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART



YOUR UNINTENTIONAL FAILURE TO DISCLOSE ALL EXPOSURES EXISTING ON THE EFFECTIVE DATE
OF THIS POLICY FOR WHICH COVERAGE MAY EXIST SHALL NOT BE A REASON BY ITSELF FOR US TO
DENY COVERAGE.



All other terms and conditions remain unchanged.




AGR-GL 4503 (11-04)                                                           Page 1 of 1
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                            AMENDMENT - CO-EMPLOYEE COVERAGE
This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART




UNDER SECTION II - WHO IS AN INSURED, PARAGRAPH 2. a.(1)(a) IS AMENDED AS FOLLOWS:

THE EXCLUSION RELATING TO CO-"EMPLOYEES" IS DELETED IN ITS ENTIRETY FOR THOSE
JURISDICTIONS WHERE A CO-"EMPLOYEE" CLAIM OR "SUIT" IS PERMITTED BY LAW.




All other terms and conditions remain unchanged.


AGR-GL 4504 (11-03)                                                             Page 1 of 1
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Policy Number:    CGL 2004738
Effective Date:   December 31, 2013


                   AMENDMENT - NON-OWNED WATERCRAFT EXCLUSION
This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART




UNDER SECTION I - COVERAGES, COVERAGE A., 2. EXCLUSIONS, PARAGRAPH g. (2) IS REPLACED BY
THE FOLLOWING:


                   THIS EXCLUSION DOES NOT APPLY TO:

                   (2)   A WATERCRAFT YOU DO NOT OWN THAT IS:

                         (a)   LESS THAN 100 FEET LONG; AND

                         (b)   NOT BEING USED TO CARRY PERSONS OR PROPERTY FOR A CHARGE.




All other terms and conditions remain unchanged.


AGR-GL 5004 (11-03)                                                            Page 1 of 1
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Allianz Global Risks US Insurance Company


Policy Number:        CGL 2004738
Effective Date:       December 31, 2013


                               Economic or Trade Sanctions Endorsement

This endorsement modifies insurance provided under the following:
        Commercial General Liability - Common Policy Conditions


This “policy” is amended as follows:
IL 00 17 11 98 COMMON POLICY CONDITIONS is amended to include the following additional condition:
If coverage for a claim or “suit” under this policy is in violation of any United States of America economic or trade
sanctions, including but not limited to, sanctions administered and enforced by the United States Treasury
Department’s Office of Foreign Assets Control (OFAC), then coverage for that claim or “suit” will be null and void.




All other terms and conditions remain unchanged.




AGRL-CG 5001 (07-08)                                                                                     Page 1 of 1
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Policy Number:       CGL 2004738
Effective Date:      December 31, 2013


             ADDITIONAL INSURED - WHEN REQUIRED BY WRITTEN CONTRACT

This endorsement modifies insurance provided under the following:
       Commercial General Liability Coverage Part

  A. Section II – Who is an Insured is amended to include any person or organization you are required to
     include as an additional insured on this policy by a written contract or written agreement in effect during
     this policy period and executed prior to the “occurrence” of the injury or damage but only to the extent
     required by the terms and conditions of such written contract or written agreement.

  B. The insurance provided to the above described additional insured under this endorsement is limited as
     follows:

      1. The person or organization is only an additional insured with respect to liability arising out of ongoing
      operations performed by you or on your behalf.

      2. In the event that the Limits of Insurance provided by this policy exceed the Limits of Insurance
      required by the written contract or written agreement, the insurance provided by this endorsement shall
      be limited to the Limits of Insurance required by the written contract or written agreement. This
      endorsement shall not increase the Limits of Insurance shown in the Declarations pertaining to the
      coverage provided herein.

      3. The insurance provided to such an additional insured does not apply to “bodily injury”, “property
      damage” or “personal and advertising injury” arising out of an architect’s, engineer’s or surveyor’s
      rendering of or failure to render any professional services, including, but not limited to:

      (a) The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports,
      surveys, field orders, change orders, or drawings and specifications and

      (b) Supervisory, inspection, architectural or engineering activities.


  Any coverage provided by this endorsement to an additional insured shall be excess over any other valid
  and collectible insurance available to the additional insured whether primary, excess, contingent or on any
  other basis unless the written contract specifically requires that this insurance apply on a primary or non-
  contributory basis.




  All other terms and conditions remain unchanged.




AGRL-CG 6001 (04-10)                                                                                     Page 1 of 1
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Policy Number:        CGL 2004738
Effective Date:       December 31, 2013

                THIS ENDORSMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.


                    ADVICE OF CANCELLATION TO ENTITES OTHER THAN AN INSURED
                                        LIMITED TO EMAIL NOTIFICATION


This policy is amended as follows:


If we initiate cancellation of this policy for any reason other than non payment of premium, and
A. The effective date of cancellation is prior to this policy’s expiration date; and
B. The “First Named Insured” is under an existing contractual obligation to notify an entity to whom a certificate
   of insurance has been issued (hereinafter, the Certificate Holder) when this policy is canceled; and
C. The “First Named Insured” has provided us, either directly or through the “First Named Insured’s” broker of
   record the email address of the contact of each such Certificate Holder; and
D. We received this information after the “First Named Insured” receives notice of cancellation of this policy and
   prior to the policy’s cancellation date in an electronic spreadsheet format that is acceptable to us;
We will provide “Advice of Cancellation” via e-mail to such Certificate Holders.


Proof of emailing the “Advice of Cancellation”, using the information provided by the “First Named Insured”, will
serve as proof that we have fully satisfied our obligations under this endorsement. The “Advice of Cancellation”
shall be emailed to each such Certificate Holder as soon as possible upon receipt of the information from the
“First Named Insured”, however we are under no contractual obligation to email the “Advice of Cancellation” prior
to the policy’s cancellation date.


This endorsement does not affect, in any way, coverage provided under this policy or the cancellation of this
policy of the effective date of such cancellation. Nor shall this endorsement invest any rights to any entity that is
not an insured under the terms of this policy.


The following Definitions apply to this endorsement:
A. “First Named Insured” means the Named Insured shown on the Declarations Page of this policy.
B.   “Advice of Cancellation” means an email that provides the following information:
     1. The Named Insured as shown on the Declarations Page of this policy;
     2. The policy number of the policy being cancelled: and
     3. The effective date and time of the cancellation.


All other terms and conditions remain unchanged.




AGRL-IL 8002 (11-12)                                                                                    Page 1 of 1
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Policy Number:      CGL 2004738
Effective Date:     December 31, 2013


                  PROVIDE NOTICE OF CANCELLATION
                        TO ANOTHER ENTITY
This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE FORM



                                              Scheduled Entity
                        Name                                               Mailing Address
Ferrari SpA                                             Via Emilia Est 1163
                                                        P.O. Box 589
                                                        41100 Modena
                                                        Italy




   1. If this insurance is cancelled, whether at your request or ours, we will provide the scheduled entity with
      written notice of such cancellation.
   2. Such notice will be mailed to the mailing address for the entity shown above no more than 30 days after
      the effective date of cancellation.
   3. This endorsement does not affect, in any way, coverage provided by this insurance, or the cancellation of
      this insurance or the effective date of cancellation. Nor shall this endorsement provide any insurance to
      the scheduled entity for any damages arising from “bodily injury” or “property damage“ occurring after the
      cancellation date of this insurance or arising from “personal or advertising injury” for any offense commit-
      ted after the cancellation date of this insurance.
   4. Failure on our part to provide such notice to the scheduled entity shall not change or delay the effective
      date of cancellation of this insurance.

   All other terms and conditions remain unchanged.




AGRL-IL 8006 (12-12)     Includes copyrighted material of the Insurance Services Office              Page 1 of 1     
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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 02 24 10 93

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   EARLIER NOTICE OF CANCELLATION
                           PROVIDED BY US
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                 SCHEDULE

Number of Days' Notice 90

(If no entry appears above, information required to complete this Schedule will be shown in the Declarations as
applicable to this endorsement.)

For any statutorily permitted reason other than nonpayment of premium, the number of days required for notice of
cancellation, as provided in paragraph 2. of either the CANCELLATION Common Policy Condition or as amended
by an applicable state cancellation endorsement, is increased to the number of days shown in the Schedule
above.




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      ADDITIONAL INSURED – CONTROLLING INTEREST
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                   SCHEDULE

 Name Of Person(s) Or Organization(s):
 Luxottica Group s.p.a.




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Section II – Who Is An Insured is amended to            C. With respect to the insurance afforded to these
   include as an additional insured the person(s) or          additional insureds, the following is added to
   organization(s) shown in the Schedule, but only            Section III – Limits Of Insurance:
   with respect to their liability arising out of:             If coverage provided to the additional insured is
   1. Their financial control of you; or                       required by a contract or agreement, the most we
   2. Premises they own, maintain or control while             will pay on behalf of the additional insured is the
       you lease or occupy these premises.                     amount of insurance:
   However:                                                    1. Required by the contract or agreement; or
   1. The insurance afforded to such additional                2. Available under the applicable Limits of
       insured only applies to the extent permitted by            Insurance shown in the Declarations;
       law; and                                                whichever is less.
   2. If coverage provided to the additional insured is        This endorsement shall not increase the
       required by a contract or agreement, the                applicable Limits of Insurance shown in the
       insurance afforded to such additional insured           Declarations.
       will not be broader than that which you are
       required by the contract or agreement to
       provide for such additional insured.
B. This insurance does not apply to structural
   alterations, new construction and demolition
   operations performed by or for that person or
   organization.
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POLICY NUMBER: CGL 2004738                                                 COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 13 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               ADDITIONAL INSURED – STATE
         OR GOVERNMENTAL AGENCY OR SUBDIVISION
            OR POLITICAL SUBDIVISION – PERMITS
         OR AUTHORIZATIONS RELATING TO PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                  SCHEDULE

 State Or Governmental Agency Or Subdivision Or Political Subdivision:

 San Francisco International Airport
 Business and Finance (Attn: Risk Management)
 P.O. Box 8097
 San Francisco, California 94128

 Location: Air Sun dba Sunglass Hut
 Store 4945 & 5547


 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               However:
   include as an additional insured any state or              1. The insurance afforded to such additional
   governmental agency or subdivision or political               insured only applies to the extent permitted by
   subdivision shown in the Schedule, subject to the             law; and
   following additional provision:
                                                              2. If coverage provided to the additional insured is
   This insurance applies only with respect to the               required by a contract or agreement, the
   following hazards for which the state or                      insurance afforded to such additional insured
   governmental agency or subdivision or political               will not be broader than that which you are
   subdivision has issued a permit or authorization in           required by the contract or agreement to
   connection with premises you own, rent or control             provide for such additional insured.
   and to which this insurance applies:
                                                           B. With respect to the insurance afforded to these
   1. The     existence,      maintenance,     repair,        additional insureds, the following is added to
      construction, erection or removal of advertising        Section III – Limits Of Insurance:
      signs, awnings, canopies, cellar entrances,
      coal holes, driveways, manholes, marquees,               If coverage provided to the additional insured is
      hoist away openings, sidewalk vaults, street             required by a contract or agreement, the most we
      banners or decorations and similar exposures;            will pay on behalf of the additional insured is the
      or                                                       amount of insurance:
   2. The construction, erection or removal of                 1. Required by the contract or agreement; or
      elevators; or                                            2. Available under the applicable Limits         of
   3. The ownership, maintenance or use of any                    Insurance shown in the Declarations;
      elevators covered by this insurance.                     whichever is less.




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   This endorsement shall not increase the
   applicable Limits of Insurance shown in the
   Declarations.




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POLICY NUMBER: CGL 2004738                                                 COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 15 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       ADDITIONAL INSURED – VENDORS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                                    SCHEDULE

      Name Of Additional Insured Person(s) Or
             Organization(s) (Vendor)                                        Your Products
All vendors where required by written contract             All Products of the Named Insured




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to             B. With respect to the insurance afforded to these
   include as an additional insured any person(s) or           vendors, the following additional exclusions apply:
   organization(s) (referred to throughout this                1. The insurance afforded the vendor does not
   endorsement as vendor) shown in the Schedule,                  apply to:
   but only with respect to "bodily injury" or "property
   damage" arising out of "your products" shown in                a. "Bodily injury" or "property damage" for
   the Schedule which are distributed or sold in the                 which the vendor is obligated to pay
   regular course of the vendor's business.                          damages by reason of the assumption of
                                                                     liability in a contract or agreement. This
   However:                                                          exclusion does not apply to liability for
   1. The insurance afforded to such vendor only                     damages that the vendor would have in the
      applies to the extent permitted by law; and                    absence of the contract or agreement;
   2. If coverage provided to the vendor is required              b. Any express warranty unauthorized by you;
      by a contract or agreement, the insurance                   c. Any physical or chemical change in the
      afforded to such vendor will not be broader                    product made intentionally by the vendor;
      than that which you are required by the
      contract or agreement to provide for such                   d. Repackaging, except when unpacked solely
      vendor.                                                        for      the     purpose      of  inspection,
                                                                     demonstration, testing, or the substitution of
                                                                     parts      under    instructions from      the
                                                                     manufacturer, and then repackaged in the
                                                                     original container;




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      e. Any failure to make such inspections,                     (2) Such inspections, adjustments, tests or
         adjustments, tests or servicing as the                         servicing as the vendor has agreed to
         vendor has agreed to make or normally                          make or normally undertakes to make in
         undertakes to make in the usual course of                      the usual course of business, in
         business, in connection with the distribution                  connection with the distribution or sale
         or sale of the products;                                       of the products.
      f. Demonstration, installation, servicing or            2. This insurance does not apply to any insured
         repair operations, except such operations               person or organization, from whom you have
         performed at the vendor's premises in                   acquired such products, or any ingredient, part
         connection with the sale of the product;                or container, entering into, accompanying or
      g. Products which, after distribution or sale by           containing such products.
         you, have been labeled or relabeled or            C. With respect to the insurance afforded to these
         used as a container, part or ingredient of           vendors, the following is added to Section III –
         any other thing or substance by or for the           Limits Of Insurance:
         vendor; or                                           If coverage provided to the vendor is required by a
      h. "Bodily injury" or "property damage" arising         contract or agreement, the most we will pay on
         out of the sole negligence of the vendor for         behalf of the vendor is the amount of insurance:
         its own acts or omissions or those of its            1. Required by the contract or agreement; or
         employees or anyone else acting on its
         behalf. However, this exclusion does not             2. Available under the applicable Limits of
         apply to:                                                Insurance shown in the Declarations;
        (1) The exceptions contained in Sub-                  whichever is less.
             paragraphs d. or f.; or                          This endorsement shall not increase the
                                                              applicable Limits of Insurance shown in the
                                                              Declarations.




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POLICY NUMBER: CGL 2004738                                                COMMERCIAL GENERAL LIABILITY
                                                                                         CG 24 04 05 09

      WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
                AGAINST OTHERS TO US
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                  SCHEDULE

Name Of Person Or Organization:
Any Person or Organization if you have agreed to waive your right of recovery under a written contract or
agreement.


Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

The following is added to Paragraph 8. Transfer Of
Rights Of Recovery Against Others To Us of
Section IV – Conditions:
We waive any right of recovery we may have against
the person or organization shown in the Schedule
above because of payments we make for injury or
damage arising out of your ongoing operations or
"your work" done under a contract with that person
or organization and included in the "products-
completed operations hazard". This waiver applies
only to the person or organization shown in the
Schedule above.




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POLICY NUMBER: CGL 2004738                                                  COMMERCIAL GENERAL LIABILITY
                                                                                           CG 24 22 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              AMENDMENT OF COVERAGE TERRITORY –
                    WORLDWIDE COVERAGE
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following is added to Section IV –                      4. The insured must fully maintain any coverage
   Conditions:                                                    required by law, regulation or other
   Expanded Coverage Territory                                    governmental authority during the policy
                                                                  period, except for reduction of the aggregate
   1. If a "suit" is brought in a part of the "coverage           limits due to payments of claims, judgments or
      territory" that is outside the United States of             settlements.
      America       (including   its   territories  and
      possessions), Puerto Rico or Canada, and we                 Failure to maintain such coverage required by
      are prevented by law, or otherwise, from                    law, regulation or other governmental authority
      defending the insured, the insured will initiate a          will not invalidate this insurance. However, this
      defense of the "suit". We will reimburse the                insurance will apply as if the required coverage
      insured, under Supplementary Payments, for                  by law, regulation or other governmental
      any reasonable and necessary expenses                       authority was in full effect.
      incurred for the defense of a "suit" seeking          B. The following is added to Paragraph 4.b.(1) under
      damages to which this insurance applies, that            the Conditions section:
      we would have paid had we been able to                   4. Other Insurance
      exercise our right and duty to defend.
                                                                  b. Excess Insurance
      If the insured becomes legally obligated to pay
      sums because of damages to which this                           This insurance is excess over:
      insurance applies in a part of the "coverage                      (c) Any of the other insurance, whether
      territory" that is outside the United States of                        primary, excess, contingent or on
      America       (including   its   territories  and                      any other basis:
      possessions), Puerto Rico or Canada, and we                            (i) If the insured's liability to pay
      are prevented by law, or otherwise, from                                   damages is determined in a "suit"
      paying such sums on the insured's behalf, we
                                                                                 brought outside the United States
      will reimburse the insured for such sums.                                  of     America     (including     its
   2. All payments or reimbursements we make for                                 territories  and      possessions),
      damages because of judgments or settlements                                Puerto Rico or Canada; or
      will be made in U.S. currency at the prevailing
                                                                            (ii) That is coverage required by law,
      exchange rate at the time the insured became                               regulation or other governmental
      legally obligated to pay such sums. All                                    authority in a part of the
      payments or reimbursements we make for
                                                                                 "coverage territory" that is outside
      expenses under Supplementary Payments will                                 the United States of America
      be made in U.S. currency at the prevailing                                 (including its territories and
      exchange rate at the time the expenses were
                                                                                 possessions), Puerto Rico or
      incurred.                                                                  Canada.
   3. Any disputes between you and us as to                 C. The definition of "coverage territory" in the
      whether there is coverage under this policy              Definitions section is replaced by the following:
      must be filed in the courts of the United States
      of America (including its territories and                "Coverage territory" means anywhere in the world
      possessions), Puerto Rico or Canada.                     with the exception of any country or jurisdiction
                                                               which is subject to trade or other economic
                                                               sanction or embargo by the United States of
                                                               America.




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Policy Number:        CGL 2004738
Effective Date:       December 31, 2013


                                              Alienated Premises

This endorsement modifies insurance provided under the following:
        COMMERCIAL GENERAL LIABILITY COVERAGE FORM

This “policy” is amended as follows:

Paragraph (2) of A.2.j of Section I, Coverages is deleted.



All other terms and conditions remain unchanged.




AGR-IL M001 (11-03)                                                              Page 1 of 1
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Policy Number:         CGL 2004738
Effective Date:        December 31, 2013


                Amendment - Self Insured Retention Claims Reportng Endorsement

This endorsement modifies insurance provided under the following:
         Commercial General Liability Coverage Part

This “policy” is amended as follows:

Under Section IV. Conditions, Item 2. Duties in The Event Of Occurrence, Offense Claim or Suit, Paragraph
e. is added:

You must provide us with immediate written notice of:

    e. any claim, either paid or reserved, for fifty percent (50%) or more of the applicable Self Insured
       Retention(s) as described in this policy.

You must also give us immediate written notice of any injury of the following types:

    i.    a fatality;
   ii.    severe burns;
  iii.    traumatic brain injury;
  iv.     dismemberment or amputation;
   v.     paralysis;
  vi.     loss or impairment of eyesight or hearing;
 vii.     severe scarring; or
 viii.    a sexual assault or battery, including; but not limited to, rape, molestation, or sexual
          abuse
  ix.    any claim arising under Optical Professional Liability which involves loss of/or impairment
         of eyesight.




All other terms and conditions remain unchanged.




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Policy Number:       CGL 2004738
Effective Date:      December 31, 2013


                           Amended Expected or Intended Injury Exclusion

This endorsement modifies insurance provided under the following:
        COMMERICAL GENERAL LIABILITY COVERAGE FORM

This “policy” is amended as follows:

Exclusion 2.a of Section 1. Coverage A, “Bodily Injury and Property Damage” is deleted and replaced with the
following:

    a. Expected or Intended Injury
       “Bodily injury” or “property damage” expected or intended from the standpoint of the insured. This
       exclusion does not apply to “bodily injury” or “property damage” resulting from the use of reasonable force
       to protect persons or property.



All other terms and conditions remain unchanged.




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Policy Number:        CGL 2004738
Effective Date:       December 31, 2013


                                      BROAD FROM NAMED INSURED

This endorsement modifies insurance provided under the following:
        COMMERCIAL GENERAL LIABILITY COVERAGE PART

Section II-WHO IS AN INSURED, paragraph 3. is deleted and replaced by the following:
3.      Each of the following is also an insured:
        a. Any organization that is a subsidiary of an organization listed in the Declarations as the NAMED
                INSURED as of the effective date of this policy;
        b. Any organization over which you maintain ownership or majority interest as of the effective date of this
                policy; and
        c. Any organization you newly acquire or form during the policy period, other than a partnership, joint
                venture or limited liability company, and over which you maintain ownership or majority interest.

However:
      (1) Coverage under this policy will apply only if there is no other similar insurance available to that
          organization.
      (2) Coverage A does not apply to “bodily injury” or “property damage” that occurred before you acquired
          or formed the organization; and
      (3) Coverage B does not apply to “personal and advertising injury” arising out of an offense committed
          before you acquired or formed the organization.

No person or organization is an insured with respect to the conduct of any current or past partnership, joint
venture or limited liability company that is not shown as a Named Insured in the Declarations.




All other terms and conditions remain unchanged.




AGR-IL M001 (11-03)                                                                                     Page 1 of 1
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Policy Number:       CGL 2004738
Effective Date:      December 31, 2013


                                    Designated Operations Exclusion

This endorsement modifies insurance provided under the following:
        Commercial General Liability Coverage Form

This coverage does not apply to any liability arising out of Managed Care Operations.



All other terms and conditions remain unchanged.




AGR-IL M001 (11-03)                                                                     Page 1 of 1
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Policy Number:       CGL 2004738
Effective Date:      December 31, 2013


                                       Named Insured Endorsement

This endorsement modifies insurance provided under the following:
        Commercial General Liability Coverage

This “policy” is amended as follows:

Item1. Named Insured shown on the declarations of this policy is amended to include the following:

Luxottica U.S. Holdings Corp.
Luxottica NYC Inc.
One Sight
One Sight Research Foundation



All other terms and conditions remain unchanged.




AGR-IL M001 (11-03)                                                                                  Page 1 of 1
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Policy Number:        CGL 2004738
Effective Date:       December 31, 2013


                               Optical Professional Liability Endorsement

This endorsement modifies insurance provided under the following:
        Commercial General Liability Coverage Part

This “policy” is amended as follows:

Optical Professional Liability

INSURING AGREEMENT

We will pay those sums that the insured legally obligated to pay as damages because of any error or omission in
providing professional services in the practices of optometry or optical services by your or on your behalf. Such
services can be provided by any optician, optometrist or anyone with whom you have a contract, agreement, or
relationship including independent contractors and volunteers. Such services include but are not limited to
examinations, referrals, prescribing, fitting filing, selling, demonstration and distributing ophthalmic lenses and
similar products, but do not include surgery.

LIMITS OF INSURANCE

$3,000,000 per occurrence limit

This occurrence limit is the most we’ll pay for the sum of all damages any insured becomes legally obligated to
pay arising from any one claim or “suit”.

$3,000,000 annual aggregate limit applicable to service provided in whole or in part in the state of California.

$3,000,000 annual aggregate limit applicable to service provided in whole in all other states

These aggregate limits are the most we’ll pay for all damages for injury or damage that occurs in one policy year.
Policy year is defined as each consecutive annual period of the policy and will include any additional period of
less than twelve months. These limits apply no matter how many insureds, protected persons, property owners,
injured parties or claims are covered.

DEFENSE/SUPPLEMENTARY PAYMENT

We will have the right and duty to defend the insured against any “suit” seeking damages to which this insurance
applies. However, we will have no duty to defend the insured against any “suit” seeking damages to which this
insurance does not apply. We may, at our discretion, investigate any “occurrence” and settle any claims or “suit”
that may result. But:

 (1)    The amount we will pay for damages is limited as described in Limits of Insurance, above; and
 (2)    Our right and duty to defend ends when we have used up the applicable of limit of insurance in the
        payment for supplementary payments and/or in the payment of judgments or settlements under this
        endorsement. These payments will reduce the limits of insurance.




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WHO IS AN INSURED

   1.       If you are designated in the Declarations as:

            a. An individual, you and your spouse are insureds, but only with respect to the conduct of a
               business of which you are the sole owner.

            b. A partnership or joint venture, you are an insured. Your members, your partners, and their
               spouses are also insureds, by only with respect to the conduct of your business.

            c.   A limited liability company, you are an insured. Your members are also insureds, but only with
                 respect to the conduct of your business. Your managers are insureds, but only with respect to
                 their duties as your managers.

            d. An organization other than a partnership, joint venture or limited liability company, you are an
               insured. Your “executive officers” and directors are insureds, but only with respect to their duties
               as your officers or directors. Your stockholders are also insureds, but only with respect to their
               liability as stockholders.

            e. A trust, you are an insured. Your trustees are also insureds, but only with respect to their duties
               as trustees.


   2.       Each of the following is also an insured:

            a. Your “volunteer workers” only while performing duties related to the conduct of your business or
               your “employees” other than either your “executive officers” (if you are an organization other than
               a partnership, joint venture or limited liability company) or your managers (if you are a limited
               liability company), but only for acts within the scope of their employment by your or while
               performing duties related to the conduct of your business. However; none of these “employees”
               or “volunteer workers” are insureds for:

            (1) “Bodily injury” or “personal and advertising injury”:

                 (a) To you, to your partners or members (if you are a partnership or joint venture), to your
                     members (if you are a limited liability company). To a co-“employee” while in the course of his
                     or her employment or performing duties related to the conduct of your business, or to your
                     other “volunteer workers” while performing duties related to the conduct of your business;

                 (b) To the spouse, child, parent, brother or sister of that co-“employee” or “volunteer worker” as a
                     consequence of Paragraph (1) (a) above;

                 (c) For which there is any obligation to share damages with or repay someone else who must
                     pay damages because of the injury described in Paragraphs (1)(a) or (b) above; or

                 (d) Arising out of his or her providing or failing to provide professional healthcare services.

            (2) “Property damage” to property.

                 (a) Owned; occupied or used by,
                 (b) Rented to, in the care, custody or control of, or over which physical control is being exercised
                     for any purpose by

                 you, any of your ‘employees”, “volunteer workers”, or any partner or member (if you are a
                 partnership or joint venture), or any member (if you are a limited liability company).




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             b. Any person (other than your “employee worker”). Or any organization while acting as your real
                estate manager.
             c. Any person or organization having proper temporary custody of your property if you die, but only:

                 (1) With respect to liability arising out of the maintenance or use of that property; and
                 (2) Until your representative has been appointed.

             d. Your legal representative if you die, but only with respect to duties as such. That representative
                will have all your rights and duties under this Coverage Part.

    3.       Any organization you newly acquire or form, other than a partnership, joint venture or limited liability
             company, and over which you maintain ownership or majority interest, will qualify as a Named
             Insured if there is no other similar insurance available to that organization. However:

             a. Coverage under this provision is afforded only until the 90th day after you acquire or form the
                organization or the end of the policy period, whichever is earlier;
             b. Coverage A does not apply to “bodily injury” or “property damage” that occurred before you
                acquired or formed the organization; and
             c. Coverage B does not apply to “personal and advertising injury” arising out of an offense
                committed before you acquired or formed the organization.

    No person or organization is an insured with respect to the conduct of any current or past partnership, joint
    venture or limited liability company that is not shown as a Named Insured in the Declarations.


EXCLUSIONS

This coverage does not apply to:

a. The rendering of services or treatments or the use of any preparations that is prohibited
   under any federal, state or municipal law or ordinance.

b. The rendering or failure to render surgical services or treatments utilizing laser or
   LASIK surgery procedures.

c. (1) “Bodily injury” or “property damage” for which coverage is provided under the
    Commercial General Liability Coverage Part or included in the Products Liability
   Aggregate of the policy; or which would have been provided except for the exhaustion
   of the limits of insurance; or
   (2)“Personal and Advertising injury liability.


Damages arising out of the assumption of liability by the insured under any contract
  or agreement, or to liability assumed by the insured under any agreement
  guaranteeing the result of any treatment. But this exclusion does not apply to liability
  under an “insured contract” as defined elsewhere in this policy, or to liability for
  damages that insured would have in the absence of a contract or agreement.

e. Damages expected or intended by the insured, caused intentionally or at the direction
   of the insured, or based on attendant circumstances should have been reasonably
   foreseen by the insured.

 f. Any obligation of the insured under a workers compensaton, disability benefits or
    unemployment compensation law or similar law.


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 g. “Bodily injury” to:
    (1)An employee of the insured arising out of and in the course of employment by the insured; or
    (2)The spouse, child, parent, brother or sister of that employee as consequence of (1) above.

 h. Costs or damages incurred for corrections, repair or replacement of:
    (a) Your products, arising out of such products or any part of such products; or
    (b) Your work, arising out of the work or any portion thereof.


OTHER INSURANCE

This agreement is primary insurance unless applicable coverage is provided by an
Independent contractor’s insurance policy, that this agreement is excess. If you have other insurance that is
excess or contingent, it won’t affect our payment under this agreement. Excess insurance applies after your
primary insurance has been exhausted. Contingent insurance applies only when you have no other coverage.
When this agreement and other collectible insurance both apply to a loss on the same primary, excess, or
contingent basis, our payment may be different. If your other insurance provides for contribution by equal shares,
each policy including this agreement will share your loss equally until it’s paid or until each share equals the
lowest limit available under any one of the policies. The remaining policies will contribute equally until your whole
loss is paid or until each policy has paid its full limit. If your other insurance doesn’t provide for contribution by
equal shares, we’ll pay the same proportion of your loss that our limit is of the total of all applicable policy limits.
But we won’t pay more than our limit.

All other terms, definitions, conditions and exclusions of this policy remain unchanged.




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Policy Number:        CGL 2004738
Effective Date:       December 31, 2013


                  Optical Professional Liability Endorsement - Who Is An Insured

This endorsement modifies insurance provided under the following:
        OPTICAL PROFESSIONAL LIABILITY

This “policy” is amended as follows:

Paragraph 2.a (1) (d) of Section II- Who is an Insured is Amended to:
Arising out of his or her providing or failure to provide professional healthcare services other than Optometry or
Optical Services.



All other terms and conditions remain unchanged.




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Policy Number:       CGL 2004738
Effective Date:      December 31, 2013


                               SELF INSURED RETENTION AGREEMENT
                                  (Each Occurrence – No Aggregate)

This endorsement modifies insurance provided under the following:
        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        OPTICAL PROFESSIONAL LIABILITY COVERAGE FORM
        LIQUOR LIABILITY COVERAGE FORM



This “policy” is amended as follows:


1. IN CONSIDERATION OF THE PREMIUM CHARGED FOR THIS INSURANCE IT IS AGREED THAT THE
   COVERAGE PROVIDED BY THIS POLICY IS EXCESS OF A SELF INSURED RETENTION OF:
    $ 558,000 APPLICABLE TO EACH OCCURRENCE FOR ALL CLAIMS EXCEPT THOSE RESULTING
   FROM THE UNAUTHORIZED USE OF ANOTHER’S NAME, PHOTO, PICTURE, LIKENESS, IDENTITY OR
   PERSONA IN THE COURSE OF ADVERTISING OR PROMOTING YOUR GOODS, PRODUCTS OR
   SERVICES. FOR CLAIMS RESULTING FROM THE UNAUTHORIZED USE OF ANOTHER’S NAME,
   PHOTO, PICTURE, LIKENESS, IDENTITY OR PERSONA IN THE COURSE OF ADVERTISING OR
   PROMOTING YOUR GOODS, PRODUCTS, OR SERVICES THE SIR WILL BE $1,000,000 APPLICABLE
   TO EACH OCCURRENCE. THIS RETENTION PER OCCURRENCE IS NOT SUBJECT TO AN
   AGGREGATE.

2. THE SELF INSURED RETENTION APPLIES TO ALL LIABILITY AND INCLUDES ONLY THOSE CLAIMS
   FOR LIABILITY WHICH WOULD OTHERWISE BE COVERED UNDER THIS POLICY IN THE ABSENCE OF
   THIS ENDORSEMENT, ANY AMOUNTS PAYABLE UNDER THE SUPPLEMENTARY PAYMENTS
   SECTION OF THIS POLICY, ALL LOSS ADJUSTMENT EXPENSE AND ANY OTHER EXPENSE
   INCURRED IN THE INVESTIGATION AND DEFENSE OF ANY CLAIM OR SUIT.

3. ANY AMOUNTS PAYABLE UNDER SUPPLEMENTARY PAYMENTS, LOSS ADJUSTMENT EXPENSE AND
   ANY OTHER EXPENSE INCURRED IN THE INVESTIGATION AND DEFENSE OF ANY CLAIM OR SUIT
   SHALL EXHAUST THE PER OCCURRENCE SELF INSURED RETENTION BEFORE ANY AMOUNTS ARE
   PAYABLE UNDER A CLAIM OR JUDGMENT.

4. "LOSS ADJUSTMENT EXPENSE" SHALL MEAN:

     (A) ATTORNEYS' FEES;

     (B) COURT COSTS AND OTHER EXPENSES IN CONNECTION WITH INVESTIGATION, DEFENSE OR
         SETTLEMENT, SUCH AS MEDICAL EXAMINATIONS, EXPERT TESTIMONY, STENOGRAPHIC
         SERVICES, WITNESSES AND SUMMONS, COPIES OF DOCUMENTS AND PHOTOGRAPHS,
         PREMIUMS ON BONDS TO RELEASE ATTACHMENTS, PREMIUMS ON APPEAL BONDS, AND
         INTEREST ON JUDGMENTS.

5. CLAIMS FOR LIABILITY WITHIN THE SELF INSURED RETENTION ARE TO BE BORNE BY THE
   INSURED AND ARE NOT TO BE INSURED ELSEWHERE.




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6. ALL THE TERMS OF THIS POLICY, INCLUDING, BUT NOT LIMITED TO, THOSE WITH RESPECT TO
   NOTICE OF CLAIM OR SUIT AND THE COMPANY'S RIGHT TO INVESTIGATE, NEGOTIATE AND
   SETTLE ANY CLAIM APPLY IRRESPECTIVE OF THE APPLICATION OF THE SELF INSURED
   RETENTION.

   THE COMPANY SHALL NOT BE OBLIGATED TO ADVANCE ANY AMOUNTS WITHIN THE SELF
   INSURED RETENTION THAT THE INSURED MAY BE LEGALLY OBLIGATED TO PAY. HOWEVER, THE
   COMPANY, WHILE RETAINING ALL RIGHTS TO DEFEND SUITS UNDER THIS POLICY MAY ADVANCE
   SUMS IN THE DEFENSE OF ANY CLAIM OR CLAIMS. IN THE EVENT THAT SUCH FUNDS ARE
   ADVANCED THE INSURED SHALL IMMEDIATELY REIMBURSE THE COMPANY UPON DEMAND.

   THE COMPANY MAY ALSO INCUR COSTS FROM OUTSIDE VENDORS IN THE INVESTIGATION AND
   DEFENSE OF ANY CLAIM OR SUIT; BILLS FOR WHICH COSTS WILL BE SENT TO THE INSURED FOR
   DIRECT PAYMENT TO VENDORS.

7. NOTWITHSTANDING ANY LANGUAGE IN THIS POLICY TO THE CONTRARY, IN NO EVENT,
   INCLUDING WITHOUT LIMITATION THE BANKRUPTCY OR INSOLVENCY OF THE INSURED, SHALL
   THE COMPANY BE REQUIRED TO PAY ANY AMOUNT IN JUDGMENTS, SETTLEMENTS, DEFENSE
   COSTS, OR OTHERWISE, WHICH THE INSURED IS OBLIGATED TO PAY BY VIRTUE OF THIS SELF
   INSURED RETENTION ENDORSEMENT.



All other terms and conditions remain unchanged.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             EMPLOYEE BENEFITS LIABILITY COVERAGE
                        THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                         PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

                                                                    Each Employee
                                                                     Self-Insured
      Coverage                    Limit Of Insurance                  Retention                 Premium
 Employee Benefits        $  3,000,000      each employee
 Programs                                                        $         558,000        $
                          $  3,000,000      aggregate
 Retroactive Date:         February 01, 2003
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to Section I – Coverages:                    No other obligation or liability to pay sums
   COVERAGE – EMPLOYEE BENEFITS LIABILITY                              or perform acts or services is covered
                                                                       unless explicitly provided for under
   1. Insuring Agreement                                               Supplementary Payments.
      a. We will pay those sums that the insured                    b. This insurance applies to damages only if:
          becomes legally obligated to pay as
          damages because of any act, error or                        (1) The act, error or omission, is
          omission, of the insured, or of any other                        negligently     committed       in    the
          person for whose acts the insured is legally                     "administration" of your "employee
          liable, to which this insurance applies. We will                 benefit program";
          have the right and duty to defend the insured               (2) The act, error or omission, did not take
          against any "suit" seeking those damages.                        place before the Retroactive Date, if
          However, we will have no duty to defend the                      any, shown in the Schedule nor after
          insured against any "suit" seeking damages                       the end of the policy period; and
          to which this insurance does not apply. We                  (3) A "claim" for damages, because of an
          may, at our discretion, investigate any report                   act, error or omission, is first made
          of an act, error or omission and settle any                      against any insured, in accordance
          "claim" or "suit" that may result. But:                          with Paragraph c. below, during the
         (1) The amount we will pay for damages is                         policy period or an Extended Reporting
              limited as described in Paragraph D.                         Period we provide under Paragraph F.
              (Section III – Limits Of Insurance); and                     of this endorsement.
         (2) Our right and duty to defend ends when                 c. A "claim" seeking damages will be
              we have used up the applicable limit of                  deemed to have been made at the earlier
              insurance in the payment of judgments or                 of the following times:
              settlements.                                            (1) When notice of such "claim" is
                                                                           received and recorded by any insured
                                                                           or by us, whichever comes first; or




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        (2) When we make settlement in accordance                   f. Workers' Compensation And Similar
             with Paragraph a. above.                                  Laws
         A "claim" received and recorded by the                        Any "claim" arising out of your failure to
         insured within 60 days after the end of the                   comply with the mandatory provisions of
         policy period will be considered to have been                 any          workers'         compensation,
         received within the policy period, if no                      unemployment compensation insurance,
         subsequent policy is available to cover the                   social security or disability benefits law or
         claim.                                                        any similar law.
      d. All "claims" for damages made by an                       g. ERISA
         "employee" because of any act, error or                       Damages for which any insured is liable
         omission, or a series of related acts, errors or              because of liability imposed on a fiduciary
         omissions, including damages claimed by                       by the Employee Retirement Income
         such      "employee's"     dependents       and               Security Act of 1974, as now or hereafter
         beneficiaries, will be deemed to have been                    amended, or by any similar federal, state
         made at the time the first of those "claims" is               or local laws.
         made against any insured.
                                                                   h. Available Benefits
   2. Exclusions
                                                                       Any "claim" for benefits to the extent that
      This insurance does not apply to:                                such benefits are available, with
      a. Dishonest, Fraudulent, Criminal Or                            reasonable effort and cooperation of the
         Malicious Act                                                 insured, from the applicable funds
         Damages arising out of any intentional,                       accrued or other collectible insurance.
         dishonest, fraudulent, criminal or malicious               i. Taxes, Fines Or Penalties
         act, error or omission, committed by any                      Taxes, fines or penalties, including those
         insured, including the willful or reckless                    imposed under the Internal Revenue
         violation of any statute.                                     Code or any similar state or local law.
      b. Bodily Injury, Property Damage, Or                         j. Employment-Related Practices
         Personal And Advertising Injury
                                                                       Damages arising out of wrongful
         "Bodily injury", "property damage" or                         termination of employment, discrimination,
         "personal and advertising injury".                            or other employment-related practices.
      c. Failure To Perform A Contract                      B. For the purposes of the coverage provided by
         Damages arising out of failure of                     this endorsement:
         performance of contract by any insurer.               1. All references to Supplementary Payments –
      d. Insufficiency Of Funds                                    Coverages A and B are replaced by
         Damages arising out of an insufficiency of                Supplementary Payments – Coverages A, B
         funds to meet any obligations under any plan              and Employee Benefits Liability.
         included in the "employee benefit program".           2. Paragraphs 1.b. and 2. of the Supplementary
      e. Inadequacy Of Performance Of                              Payments provision do not apply.
         Investment/Advice Given With Respect To            C. For the purposes of the coverage provided by
         Participation                                         this endorsement, Paragraphs 2. and 3. of
         Any "claim" based upon:                               Section II – Who Is An Insured are replaced by
                                                               the following:
        (1) Failure of any investment to perform;
                                                               2. Each of the following is also an insured:
        (2) Errors in providing information on past
             performance of investment vehicles; or                a. Each of your "employees" who is or was
                                                                       authorized to administer your "employee
        (3) Advice given to any person with respect                    benefit program".
             to that person's decision to participate or
             not to participate in any plan included in            b. Any        persons,     organizations       or
             the "employee benefit program".                           "employees" having proper temporary
                                                                       authorization     to    administer       your
                                                                       "employee benefit program" if you die, but
                                                                       only until your legal representative is
                                                                       appointed.




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       c. Your legal representative if you die, but only          The Limits of Insurance of this endorsement
          with respect to duties as such. That                    apply separately to each consecutive annual
          representative will have all your rights and            period and to any remaining period of less
          duties under this Endorsement.                          than 12 months, starting with the beginning of
   3. Any organization you newly acquire or form,                 the policy period shown in the Declarations of
      other than a partnership, joint venture or limited          the policy to which this endorsement is
      liability company, and over which you maintain              attached, unless the policy period is extended
      ownership or majority interest, will qualify as a           after issuance for an additional period of less
      Named Insured if no other similar insurance                 than 12 months. In that case, the additional
      applies to that organization. However:                      period will be deemed part of the last
                                                                  preceding period for purposes of determining
       a. Coverage under this provision is afforded               the Limits Of Insurance.
          only until the 90th day after you acquire or
          form the organization or the end of the policy      2. Self-Insured Retention
          period, whichever is earlier.                           a. Our obligation to pay damages on behalf
      b. Coverage under this provision does not apply                 of the insured applies only to the amount
          to any act, error or omission that was                      of damages in excess of the Self-Insured
          committed before you acquired or formed the                 Retention amount stated in the Schedule
          organization.                                               as applicable to Each Employee. The
                                                                      limits of insurance shall not be reduced by
D. For the purposes of the coverage provided by this                  the amount of this Self-Insured Retention.
   endorsement, Section III – Limits Of Insurance is                  This Self-Insured Retention is not subject
   replaced by the following:                                         to an aggregate.
   1. Limits Of Insurance                                         b. The Self-Insured Retention amount stated
       a. The Limits of Insurance shown in the                        in the Schedule applies to all damages
          Schedule and the rules below fix the most we                sustained by any one "employee",
          will pay regardless of the number of:                       including such "employee's" dependents
                                                                      and beneficiaries, because of all acts,
         (1) Insureds;
                                                                      errors or omissions to which this
         (2) "Claims" made or "suits" brought;                        insurance applies.
         (3) Persons or organizations making "claims"             c. The terms of this insurance, including
               or bringing "suits";                                   those with respect to:
         (4) Acts, errors or omissions; or                           (1) Our right and duty to defend any
         (5) Benefits included in your "employee                          "suits" seeking those damages; and
               benefit program".                                     (2) Your duties, and the duties of any
      b. The Aggregate Limit is the most we will pay                      other involved insured, in the event of
          for all damages because of acts, errors or                      an act, error or omission, or "claim"
          omissions negligently committed in the                      apply irrespective of the application of the
          "administration" of your "employee benefit                  Self-Insured Retention amount.
          program".
                                                           E. For the purposes of the coverage provided by
       c. Subject to the Aggregate Limit, the Each            this endorsement, Conditions 2. and 4. of
          Employee Limit is the most we will pay for all      Section IV – Commercial General Liability
          damages sustained by any one "employee",            Conditions are replaced by the following:
          including damages sustained by such
                                                              2. Duties In The Event Of An Act, Error Or
          "employee's" dependents and beneficiaries,
                                                                  Omission, Or "Claim" Or "Suit"
          as a result of:
                                                                  a. You must see to it that we are notified as
         (1) An act, error or omission; or
                                                                      soon as practicable of an act, error or
         (2) A series of related acts, errors or                      omission which may result in a "claim". To
               omissions                                              the extent possible, notice should include:
          negligently committed in the "administration"              (1) What the act, error or omission was
          of your "employee benefit program".                             and when it occurred; and
          However, the amount paid under this
          endorsement shall not exceed, and will be
          subject to, the limits and restrictions that
          apply to the payment of benefits in any plan
          included in the "employee benefit program".

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         (2) The names and addresses of anyone who        b. Excess Insurance
             may suffer damages as a result of the act,     (1) This insurance is excess over any of
             error or omission.                                  the other insurance, whether primary,
      b. If a "claim" is made or "suit" is brought               excess, contingent or on any other
          against any insured, you must:                         basis that is effective prior to the
         (1) Immediately record the specifics of the             beginning of the policy period shown in
             "claim" or "suit" and the date received;            the Schedule of this insurance and that
             and                                                 applies to an act, error or omission on
                                                                 other than a claims-made basis, if:
         (2) Notify us as soon as practicable.
                                                                (a) No Retroactive Date is shown in
          You must see to it that we receive written                 the Schedule of this insurance; or
          notice of the "claim" or "suit" as soon as
          practicable.                                          (b) The other insurance has a policy
                                                                     period which continues after the
      c. You and any other involved insured must:                    Retroactive Date shown in the
         (1) Immediately send us copies of any                       Schedule of this insurance.
             demands, notices, summonses or legal           (2) When this insurance is excess, we will
             papers received in connection with the              have no duty to defend the insured
             "claim" or "suit";                                  against any "suit" if any other insurer
         (2) Authorize us to obtain records and other            has a duty to defend the insured
             information;                                        against that "suit". If no other insurer
                                                                 defends, we will undertake to do so,
         (3) Cooperate with us in the investigation or
                                                                 but we will be entitled to the insured's
             settlement of the "claim" or defense
                                                                 rights against all those other insurers.
             against the "suit"; and
                                                            (3) When this insurance is excess over
         (4) Assist us, upon our request, in the
                                                                 other insurance, we will pay only our
             enforcement of any right against any
                                                                 share of the amount of the loss, if any,
             person or organization which may be
                                                                 that exceeds the sum of the total
             liable to the insured because of an act,
                                                                 amount that all such other insurance
             error or omission to which this insurance
                                                                 would pay for the loss in absence of
             may also apply.
                                                                 this insurance; and the total of all
      d. No insured will, except at that insured's own           deductible and self-insured amounts
          cost, voluntarily make a payment, assume               under all that other insurance.
          any obligation or incur any expense without
                                                            (4) We will share the remaining loss, if
          our consent.
                                                                 any, with any other insurance that is
   4. Other Insurance                                            not described in this Excess Insurance
      If other valid and collectible insurance is                provision and was not bought
      available to the insured for a loss we cover               specifically to apply in excess of the
      under this endorsement, our obligations are                Limits of Insurance shown in the
      limited as follows:                                        Schedule of this endorsement.
      a. Primary Insurance                                c. Method Of Sharing
          This insurance is primary except when              If all of the other insurance permits
          Paragraph b. below applies. If this insurance      contribution by equal shares, we will
          is primary, our obligations are not affected       follow this method also. Under this
          unless any of the other insurance is also          approach each insurer contributes equal
          primary. Then, we will share with all that         amounts until it has paid its applicable
          other insurance by the method described in         limit of insurance or none of the loss
          Paragraph c. below.                                remains, whichever comes first.
                                                             If any of the other insurance does not
                                                             permit contribution by equal shares, we
                                                             will contribute by limits. Under this
                                                             method, each insurer's share is based on
                                                             the ratio of its applicable limits of
                                                             insurance to the total applicable limits of
                                                             insurance of all insurers.



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F. For the purposes of the coverage provided by this              The Extended Reporting Period endorsement
   endorsement, the following Extended Reporting                  applicable to this coverage shall set forth the
   Period provisions are added, or, if this endorsement           terms, not inconsistent with this Section,
   is attached to a claims-made Coverage Part,                    applicable to the Extended Reporting Period,
   replaces any similar Section in that Coverage Part:            including a provision to the effect that the
   EXTENDED REPORTING PERIOD                                      insurance afforded for "claims" first received
                                                                  during such period is excess over any other
   1. You will have the right to purchase an Extended             valid and collectible insurance available under
      Reporting Period, as described below, if:                   policies in force after the Extended Reporting
       a. This endorsement is canceled or not                     Period starts.
          renewed; or                                         4. If the Extended Reporting Period is in effect,
      b. We renew or replace this endorsement with                we will provide an extended reporting period
          insurance that:                                         aggregate limit of insurance described below,
                                                                  but only for claims first received and recorded
         (1) Has a Retroactive Date later than the date
                                                                  during the Extended Reporting Period.
             shown in the Schedule of this
             endorsement; or                                      The extended reporting period aggregate limit
                                                                  of insurance will be equal to the dollar amount
         (2) Does not apply to an act, error or
                                                                  shown in the Schedule of this endorsement
             omission on a claims-made basis.
                                                                  under Limits of Insurance.
   2. The Extended Reporting Period does not extend
                                                                  Paragraph D.1.b. of this endorsement will be
      the policy period or change the scope of
                                                                  amended accordingly. The Each Employee
      coverage provided. It applies only to "claims" for
                                                                  Limit shown in the Schedule will then
      acts, errors or omissions that were first
                                                                  continue to apply as set forth in Paragraph
      committed before the end of the policy period but
                                                                  D.1.c.
      not before the Retroactive Date, if any, shown in
      the Schedule. Once in effect, the Extended           G. For the purposes of the coverage provided by
      Reporting Period may not be canceled.                   this endorsement, the following definitions are
                                                              added to the Definitions Section:
   3. An Extended Reporting Period of five years is
      available, but only by an endorsement and for an        1. "Administration" means:
      extra charge.                                               a. Providing information to "employees",
      You must give us a written request for the                      including     their     dependents        and
      endorsement within 60 days after the end of the                 beneficiaries, with respect to eligibility for
      policy period. The Extended Reporting Period                    or scope of "employee benefit programs";
      will not go into effect unless you pay the                  b. Handling records in connection with the
      additional premium promptly when due.                           "employee benefit program"; or
      We will determine the additional premium in                 c. Effecting, continuing or terminating any
      accordance with our rules and rates. In doing so,               "employee's" participation in any benefit
      we may take into account the following:                         included in the "employee benefit
       a. The "employee benefit programs" insured;                    program".
      b. Previous types and amounts of insurance;                 However, "administration" does not include
                                                                  handling payroll deductions.
       c. Limits of insurance available under this
          endorsement for future payment of damages;          2. "Cafeteria plans" means plans authorized by
          and                                                     applicable law to allow employees to elect to
                                                                  pay for certain benefits with pre-tax dollars.
      d. Other related factors.
                                                              3. "Claim" means any demand, or "suit", made
      The additional premium will not exceed 100% of
                                                                  by an "employee" or an "employee's"
      the annual premium for this endorsement.
                                                                  dependents and beneficiaries, for damages
                                                                  as the result of an act, error or omission.




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   4. "Employee benefit program" means a program                    e. Any other similar benefits designated in
      providing some or all of the following benefits to               the Schedule or added thereto by
      "employees", whether provided through a                          endorsement.
      "cafeteria plan" or otherwise:                        H. For the purposes of the coverage provided by
      a. Group life insurance, group accident or               this endorsement, Definitions 5. and 18. in the
         health insurance, dental, vision and hearing          Definitions Section are replaced by the
         plans, and flexible spending accounts,                following:
         provided that no one other than an                    5. "Employee" means a person actively
         "employee" may subscribe to such benefits                 employed, formerly employed, on leave of
         and such benefits are made generally                      absence or disabled, or retired. "Employee"
         available to those "employees" who satisfy                includes a "leased worker". "Employee" does
         the plan's eligibility requirements;                      not include a "temporary worker".
      b. Profit sharing plans, employee savings plans,        18. "Suit" means a civil proceeding in which
         employee stock ownership plans, pension                   damages because of an act, error or omission
         plans and stock subscription plans, provided              to which this insurance applies are alleged.
         that no one other than an "employee" may                  "Suit" includes:
         subscribe to such benefits and such benefits
         are made generally available to all                        a. An arbitration proceeding in which such
         "employees" who are eligible under the plan                   damages are claimed and to which the
         for such benefits;                                            insured must submit or does submit with
                                                                       our consent; or
      c. Unemployment insurance, social security
         benefits,     workers'      compensation   and            b. Any other alternative dispute resolution
         disability benefits;                                          proceeding in which such damages are
                                                                       claimed and to which the insured submits
      d. Vacation plans, including buy and sell                        with our consent.
         programs; leave of absence programs,
         including military, maternity, family, and civil
         leave; tuition assistance plans; transportation
         and health club subsidies; and




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                                                                                                   IL 02 44 09 07

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  OHIO CHANGES – CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   FARM UMBRELLA LIABILITY POLICY
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. With respect to a policy which has been in effect              e. Loss of applicable reinsurance or a sub-
   for more than 90 days, or is a renewal of a policy                  stantial decrease in applicable reinsurance,
   we issued, the Cancellation Common Policy                           if the Superintendent has determined that
   Condition is replaced by the following:                             reasonable efforts have been made to pre-
   1. The first Named Insured shown in the Declara-                    vent the loss of, or substantial decrease in,
       tions may cancel this policy by mailing or deliv-               the applicable reinsurance, or to obtain re-
       ering to us advance written notice of cancella-                 placement coverage;
       tion.                                                       f. Failure of an insured to correct material vio-
   2. We may cancel this policy only for one or more                   lations of safety codes or to comply with
       of the following reasons, except as provided in                 reasonable written loss control recommen-
       Paragraph 6. below:                                             dations; or
       a. Nonpayment of premium;                                  g. A determination by the Superintendent of
                                                                       Insurance that the continuation of the policy
       b. Discovery of fraud or material misrepresen-                  would create a condition that would be haz-
           tation in the procurement of the insurance                  ardous to the policyholders or the public.
           or with respect to any claims submitted
           thereunder;                                         3. We will mail written notice of cancellation to the
                                                                  first Named Insured, and agent if any, at the
       c. Discovery of a moral hazard or willful or               last mailing addresses known to us. Proof of
           reckless acts or omissions on your part                mailing will be sufficient proof of notice.
           which increases any hazard insured
           against;                                            4. We will mail the notice of cancellation at least:
       d. The occurrence of a change in the individu-             a. 10 days before the effective date of cancel-
           al risk which substantially increases any                   lation, if we cancel for nonpayment of pre-
           hazard insured against after the insurance                  mium; or
           coverage has been issued or renewed ex-                b. 30 days before the effective date of cancel-
           cept to the extent the insurer could reason-                lation, if we cancel for a reason stated in
           ably have foreseen the change or contem-                    2.b. through 2.g. above.
           plated the risk in writing the contract;




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   5. The notice of cancellation will:                       C. Common Policy Conditions
      a. State the effective date of cancellation. The          1. Paragraph A.2.a. of the Businessowners
           policy period will end on that date.                    Common Policy Conditions is deleted.
      b. Contain the date of the notice and the poli-           2. Paragraph E.2. of the Cancellation Common
           cy number, and will state the reason for                Policy Condition in the Standard Property Poli-
           cancellation.                                           cy is deleted. Paragraph E.2. is replaced by the
   6. Policies written for a term of more than one                 following (unless Item A. of this endorsement
      year or on a continuous basis may be can-                    applies):
      celled by us for any reason at an anniversary                We may cancel this policy by mailing or deliv-
      date, upon 30 days' written notice of cancella-              ering to the first Named Insured written notice
      tion.                                                        of cancellation at least:
   7. If this policy is cancelled, we will send the first          a. 10 days before the effective date of cancel-
      Named Insured any premium refund due. If we                      lation, if we cancel for nonpayment of pre-
      cancel, the refund will be pro rata. If the first                mium; or
      Named Insured cancels, the refund may be                     b. 30 days before the effective date, if we
      less than pro rata. The cancellation will be ef-                 cancel for any other reason.
      fective even if we have not made or offered a
      refund.
B. The following is added to the Common Policy
   Conditions and supersedes any provisions to the
   contrary:
   NONRENEWAL
   1. If we elect not to renew this policy, we will mail
      written notice of nonrenewal to the first Named
      Insured, and agent if any, at the last mailing
      addresses known to us. The notice will contain
      the date of the notice and the policy number,
      and will state the expiration date of the policy.
   2. We will mail the notice of nonrenewal at least
      30 days before the expiration date of the poli-
      cy.
   3. Proof of mailing will be sufficient proof of no-
      tice.




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